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7                           UNITED STATES DISTRICT COURT
8                       CENTRAL DISTRICT OF CALIFORNIA
9     JEFFREY TOLAND,                         COMPLAINT FOR:
10                Plaintiff,                  1.   Deprivation of Civil Rights in
                                                   Violation of 42 U.S.C. § 1983
11                                                 (Excessive Force)
      v.
12
      ZACHARY MCFARLAND, in his               2.   Deprivation of Civil Rights in
                                                   Violation of 42 U.S.C. § 1983
13    individual and official capacity;            (Unreasonable Seizure—
14
      STEPHANIE LACK, in her individual            Procurement of Arrest by
      and official capacity; PASADENA              False Statements)
15    CITY ATTORNEY’S OFFICE; JOHN            3.   Deprivation of Civil Rights in
16    NAM, in his individual and official          Violation of 42 U.S.C. § 1983—
      capacity; and DOES 1-10, inclusive,          Detention Without Reasonable
17                                                 Suspicion
18
                  Defendants.                 4.   Deprivation of Civil Rights in
                                                   Violation of 42 U.S.C. § 1983—
19
                                                   Deliberate Fabrication of
20                                                 Evidence
                                              5.   Deprivation of Civil Rights in
21
                                                   Violation Of 42 U.S.C. §
22                                                 1983—Suppression of
                                                   Exculpatory Evidence
23
                                              6.   Conspiracy to Engage in
24                                                 Deprivation of Civil Rights in
                                                   Violation Of 42 U.S.C. §
25                                                 1983—Suppression of
26
                                                   Exculpatory Evidence
                                              7.   Injunctive Relief
27

28                                            DEMAND FOR JURY TRIAL


                                COMPLAINT FOR DAMAGES
                                           1
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1
      Plaintiff Jeffrey Toland (“Mr. Toland”) alleges as follows:
2
         INTRODUCTION
3
         1. This case is about a nightmare: An ordinary man home with his young
4
      daughter is stopped for an alleged traffic violation. The police officer who stopped
5
      him has a long history of violence—including lethal violence—against the
6
      community he’s supposed to serve. The officer is confrontational and aggressive
7
      with the man. The man tries to placate the officer, expressing his respect for law
8
      enforcement. But the officer is out to satisfy his desire to put his hands on
9

10
      someone. He pulls the man out of the car, punches him in the face repeatedly,

11
      knocks him to the ground,, Tases him, and begins choking him into
12    unconsciousness. All of this in the man’s driveway, in front of his family, who are
13    forced to watch helplessly.
14       2. This really happened to Plaintiff Jeffrey Toland. But the nightmare did not
15    stop there. After being beaten up, Mr. Toland was then arrested and charged with
16    assaulting the police officer who had just punched, Tased, and choked him. And
17    the Pasadena City Attorney’s Office—knowing that this officer was a problem, and
18
      worried about facing a civil-rights lawsuit, deliberately interfered in the case to
19
      hide exculpatory evidence. The City Attorney’s told the Police Department not to
20
      investigate the incident internally or write any reports about it, and not to disclose
21
      the officer’s history to the DA, the defense, or the Court.
22
         3. This nightmare scenario should be the stuff of film noir. But it did happen,
23
      to Jeffrey Toland, right here in Pasadena, California.
24

25       The Night of June 22, 2019: Mr. Toland is Beaten and Choked
26       4. In the two years prior to June 22, 2019, Pasadena Police Officer Zachary
27    McFarland had beaten, punched and Tased at least six other people while working
28    in the Alhambra Police Department. These uses of force revealed an officer


                                     COMPLAINT FOR DAMAGES
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1
      worryingly eager to hit people—he punched a handcuffed man lying on the
2
      ground; he punched a mentally disturbed woman who had wandered into traffic; he
3
      Tased a teenage girl. And only a month before, in Pasadena, he had shot and killed
4
      a mentally ill man. He killed the man from across the street, behind a telephone
5
      pole, while his sergeant was telling him to de-escalate. The sergeant told him to
6
      keep talking to the man. But Officer McFarland didn’t want to—he wanted to
7
      shoot. His body-camera captured him saying under his breath, when the sergeant
8
      told him to keep talking, “I’m going to take him out.” And then he did. Officer
9

10
      McFarland does not have the appropriate character to carry a badge and gun. He

11
      should never have been out on the streets on the night of June 22, 2019.
12       5. But he was, and he was looking for an excuse to put his hands on someone.
13       6. The ordinary American in this case is Plaintiff Jeffrey Toland, who was
14    travelling home with his daughter in the car. The officer, Pasadena Police Officer
15    Zachary McFarland, pulled Mr. Toland over for—so he said—a malfunctioning
16    brake light. (In fact, Officer McFarland’s dash-cam footage showed Mr. Toland’s
17    brake lights were working perfectly.) Within three minutes, Officer McFarland,
18
      angered because Mr. Toland asked him what he had been pulled over for (and he
19
      had to ask three times before Officer McFarland came up with his false answer
20
      about the brake lights), had pulled Mr. Toland from his car, punched him a dozen
21
      times in the face and head, knocked him to the ground. McFarland then Tased him,
22
      and grabbed him around the neck and tried to choke him into unconsciousness. A
23
      second officer, Stephanie Lack, stood by and watched the beating. She then joined
24
      in, choking Mr. Toland herself. The incident occurred in Mr. Toland’s driveway, as
25
      Mr. Toland’s family watched in horror.
26

27

28




                                    COMPLAINT FOR DAMAGES
                                               3
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1
          The Officers Lie to Cover Up the Beating
2
          7. The two officers then both lied about what had happened. They falsely
3
      accused Mr. Toland of violently attacking them, and they created false reports
4
      making that accusation. Based on that false accusation, the District Attorney’s
5
      Office charged Mr. Toland with assaulting a police officer, a serious violent felony
6
      charge. But, when under oath on the witness stand at the preliminary hearing,
7
      Officer Lack admitted that in fact her report was false, She contradicted Officer
8
      McFarland’s testimony (he claimed Mr. Toland had knocked him to the ground;
9
      Officer Lack testified that Officer McFarland was never on the ground at all), and
10

11
      she admitted that Mr. Toland didn’t attack anyone or do anything violent at all.

12        The Pasadena City Attorney Obstructs Justice
13        8. It is a bad thing when police officers use excessive force and lie about it.
14    But this story gets worse.
15
          9. The Pasadena City Attorney’s Office1—which should not have had any
16
      involvement in a criminal case being prosecuted by the District Attorney’s
17
      Office—was closely monitoring the case and was worried about the City’s
18
      potential civil liability for Officer McFarland’s actions.
19
          10.The City Attorney’s Office was worried about the following facts:
20
             First, the Office knew that Officer Lack had testified under oath at the
21
              preliminary hearing that her written report was false (and that in fact Mr.
22

23
              Toland had not done anything violent); that she had directly contradicted

24
              Officer McFarland’s claim, under oath, that Mr. Toland had attacked him
25            and knocked him to the ground; and that clearly established law establishes
26            that applying a chokehold (which she testified that she and Officer
27

28    1
       The City Attorney’s Office is referred to herein as “City Attorney’s Office,”
      “City Attorney,” “Office,” and “City.”

                                      COMPLAINT FOR DAMAGES
                                                 4
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1
            McFarland had done to Mr. Toland) based on Mr. Toland’s “passive
2
            resistance” (sitting still on his driveway and not obeying their command to
3
            lie down, but not touching anyone or doing anything violent) is illegal
4
            excessive force as a matter of law. The City Attorney knew that if the
5
            Department prepared a use-of-force report about the Toland incident, the
6
            City would have to address that testimony.
7
          Second, the Office knew that Officer McFarland (who was still a
8
            probationary officer with Pasadena) had had six prior serious and legally
9

10
            questionable uses of force in his previous year working in the Alhambra

11
            Police Department. They understood the liability they potentially faced for
12          the violent actions of an officer who should never have been given a gun and
13          a badge.
14        Third, and most shocking of all, the Office knew that on May 17, 2019, just
15          four weeks before he beat Mr. Toland, Officer McFarland had, in highly
16          suspect circumstances, shot and killed another Pasadena citizen, a mentally
17          ill man named Daniel Warren. They knew that the Department did not place
18
            Officer McFarland on leave or do an internal investigation of the shooting.
19
            They knew that that could be a problem for the City now that Officer
20
            McFarland had beaten another person only a month later. It is standard
21
            practice to place an officer on leave and investigate when he kills a civilian.
22
            That should have happened here. It didn’t. And the City Attorney’s Office
23
            wanted to make sure that Mr. Toland’s defense never found that out.
24
         11.So the City Attorney’s Office told the Police Department not to do an
25
      investigation or create an internal report on the Toland incident, not to put anything
26

27
      in writing for two years ( his time to file a civil rights suit would have expired) and

28    not to tell the District Attorney’s Office that McFarland had been the shooter in the
      Warren case. It was a blatant and illegal attempt to deprive Mr. Toland of his due

                                     COMPLAINT FOR DAMAGES
                                                5
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1
      process rights and to procure a wrongful conviction of Mr. Toland. This was done
2
      expressly to prevent Mr. Toland from filing a civil rights lawsuit against the City.
3
      The City Attorney hoped that if they could hide Officer McFarland’s history from
4
      the DA and the defense, the DA could obtain a conviction against Mr. Toland,
5
      which would undermine his civil suit.
6
         12. The City Attorney’s Office was desperate to prevent Mr. Toland’s defense
7
      from finding out that McFarland had been the shooter in the Warren case. The
8
      Warren shooting was problematic, to say the least, and cast serious doubt on
9

10
      Officer McFarland’s credibility and his fitness to carry a gun and a badge.

11    May 2019: Officer McFarland Kills Daniel Warren
12       13. Daniel Warren suffered from mental illness. On May 17, 2019, he was
13    standing on the sidewalk, holding a pistol and shouting incoherently. Neighbors
14
      called 911 and multiple officers responded. When officers arrived, no one was near
15
      Mr. Warren. He was standing there shouting incoherently. Officer McFarland and
16
      four other officers took positions at least one hundred feet away, across the street
17
      and at the end of the block, behind a hedge, a wall, and a telephone pole. Video
18
      taken at the scene raises the distinct possibility that Mr. Warren may not have even
19
      been aware that the police had arrived.
20

21

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                                     COMPLAINT FOR DAMAGES
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       Figure 1: Officer McFarland and other officers at the Warren
15
       Shooting
16

17

18       14. Body-worn cameras recorded Officer McFarland saying that Mr. Warren
19    was pointing his gun at the officers. None of the other officers at the scene made
20    any such statements at the time, though they were all standing next to each other
21    and all looking at Mr. Warren. The senior officer on scene instructed the officers
22    to “keep giving him commands,” and talk to him to try to de-escalate the situation.
23    Officer McFarland, though, is palpably eager to kill. He can be heard on his body-
24    worn camera responding under his breath to the sergeant’s “Keep talking” directive
25
      as follows: “I’m going to take him out.” McFarland then takes careful aim with his
26
      rifle and shoots Mr. Warren from a hundred feet away, from behind a telephone
27
      pole.
28




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                                                  7
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1
          15. The Police Department apparently had concerns about the legality of the
2
      shooting. because it asked the Sheriff’s Department to investigate. The Sheriff’s
3
      Department interviewed Officer McFarland who lied about how many shots he’d
4
      fired (he said one, two, or three—but eight cartridges were missing from his
5
      magazine). He claimed that Mr. Warren had clearly pointed the pistol at him
6
      twice, but review of the body-worn footage shows that none of the other officers,
7
      who were all looking at the exact same scene, ever gave any indication that they
8
      saw Mr. Warren pointing the gun at them.2 In fact, review of the footage suggests
9

10
      that the man may not even have seen them—he was a block away, on the other side

11
      of the street, was mentally ill, and was yelling randomly and pacing back and forth.
12        16. Review of those videos shows that the other officers remained calm as a
13    supervisor instructed them to de-escalate. “Keep giving him commands,” he said.
14    But Officer McFarland ignored that directive. He wanted to shoot. “I’m going to
15    take him out, ” he says under his breath. Then he fires, killing Daniel Warren.
16

17

18

      2
19      One of the officers next to Officer McFarland told the Sheriff’s investigator after
20    the fact that he had seen Mr. Warren pointing the pistol at officers; but that
      statement is belied by the officer’s own actions and statement at the time. At the
21
      time, Officer McFarland is the only officer who ever said he saw Mr. Warren
22    pointing the pistol. Indeed, at the time, at least one other officer responded to
      Officer McFarland by stating that Mr. Warren was not pointing the pistol at the
23
      officers. As a matter of law, as well as common sense, what a person says at the
24    time is better evidence of what he actually saw than what he says later—
25
      particularly when he later has a strong incentive to tell investigators that the
      shooting was justified. There is a strong circumstantial inference that—just as in
26
      the Toland case—other officers were willing to make post-incident statements to
27    cover for Officer McFarland’s use of violence that are not consistent with their
      contemporaneous observations. And the Sheriff’s investigator never questioned
28
      the officers about the conflict between their statements after the fact and the body-
      worn footage.

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1
         The City Attorney’s “McFarland Problem” and Brady Evidence Related to
2     the Warren Killing
3         17.The City Attorney’s Office was worried about the City’s civil liability for
4     Officer McFarland’s conduct. Officer McFarland was obviously unfit for the job.
5     And the City Attorney knew, among other things, that some of the statements the
6     City had given to the news media the day of the shooting—stating that Mr. Warren
7
      had been holding an AR-15 assault rifle, had pointed it at officers, and that he had
8
      shot at officers, who had only returned fire “in an exchange of gunfire”—were out-
9
      and-out false.3
10
          18. The City knew that Mr. Warren hadn’t been holding an AR-15, and hadn’t
11
      shot at the officers, and that the officers hadn’t “returned fire.” The City knew that
12
      Officer McFarland had opened fire, from a hundred feet away, across the street,
13
      and behind a telephone pole, killing Mr. Warren. The City knew that the other
14
      officers on scene—who were, as the photo above shows, right next to Officer
15

16
      McFarland—did not perceive a threat requiring deadly force. In fact, they didn’t

17    fire their weapons until after Officer McFarland did. The City knew that the body-
18    cam footage showed Officer McFarland saying, before he begins shooting, “I’m
19    going to take him out,” and sounding very eager to do it. The body-cam footage
20    shows that none of the other officers on scene ever claimed, during the incident, to
21    see Mr. Warren pointing a gun at them. Officer McFarland was the only one who
22

23    3
        See, e.g., https://abc7.com/pasadena-officer-involved-shooting/5517501/ (citing
24    “police” for the above assertions. The claims that Mr. Warren pointed an AR-15 at
25
      officers, or that there was an “exchange” of gunfire between Mr. Warren and the
      officers who shot him, are false. The AR-15 was found on the ground behind the
26
      house. When Officer McFarland shot Mr. Warren, Mr. Warren, Mr. Warren was
27    standing on the sidewalk in front of the house, and he had a pistol in his hand. Nor
      did Mr. Warren ever fire at officers. The only gunshot from Mr. Warren’s pistol
28
      occurred behind the house, out of sight of the officers, after they had shot him, and
      while he was slumped in a chair bleeding to death.

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1
       said so at the time, despite the fact that there were at least three other officers
2
       looking at Mr. Warren.
3
          19. And the City knew that Officer McFarland had told investigators that he’d
4
       only shot twice, but when they looked at his gun, eight cartridges had been fired.
5
          20. Yet after the Warren shooting, for unknown reasons, the Department did
6
       not place Officer McFarland on leave and did not conduct an investigation. The
7
       Department simply left him on patrol. Failing to do an internal investigation of a
8
       fatal shooting, and failing to place the officer on leave during the investigation, run
9

10
       counter to widely accepted best practices. But it didn’t happen. And then, a month

11
       later, Officer McFarland beat up Mr. Toland. And Mr. Toland asserted his
12     innocence and hired a prominent firm to defend him. And that worried the City
13     Attorney’s Office.
14        21. Now the City Attorney’s Office knew that they had two problems and
15     Officer McFarland’s actions were at the center of both.
16        22. And the City Attorney knew that the Police Department, if not prevented,
17     might do its constitutional duty and provide the District Attorney with Officer
18
       McFarland’s history. So the City Attorney intervened to stop that from happening.
19
          23. The City Attorney knew that if it came to light that this was the same
20
       officer—a probationary officer with a history of violence, who had shot one citizen
21
       and beaten up another in the course of a month, and then had (implausibly) claimed
22
       in each case that he was attacked and in fear for his life—the City could face
23
       significant legal liability on both cases.
24
          24.The City Attorney was also worried that the media would ask how it was
25
       that this man given a gun and a badge? Did no one vet him before hiring him?
26

27
       Didn’t they read the news? Weren’t they aware of the nationwide calls for police

28     reform to avoid just this kind of behavior? The City did not want to answer those
       questions.

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1
            25. So the City Attorney made a decision: bury it. Make sure that no one was
2
       ever able to connect the dots between the Warren case and the Toland case. Make
3
       sure that Mr. Toland’s defense never found out that Officer McFarland had been
4
       the shooter in the Warren killing.
5
            26. The Police Department had released footage of the Warren shooting—but
6
       had not mentioned Officer McFarland’s name or identified him as the shooter.
7
       Neither the public, nor Mr. Toland, nor the District Attorney, nor the Court, knew
8
       that the officer who had shot Mr. Warren was a probationary officer, who had
9

10
       demonstrated a troubling propensity for violence in his brief career with the

11
       Alhambra Police Department, just one town over, and who was left on patrol to
12     beat up Mr. Toland in his own driveway, in front of his family, a month later.
13          27. But the City Attorney knew that it also had to hide that information from the
14     prosecutors at the District Attorney’s Office, because they would correctly
15     recognize it as Brady evidence, and turn it over to the defense. So the City
16     Attorney told the Police Department not to tell the DA about Officer McFarland.
17     The City Attorney knew full well that by so doing it was deliberately depriving Mr.
18
       Toland of his constitutional rights. It knew that Mr. Toland’s defense was that
19
       Officer McFarland had used excessive force and beaten him without justification,
20
       and who that he a constitutional right to all exculpatory evidence.4
21
            28. The City Attorney set out to hide evidence from the DA, the defense, and
22
       the Court, because it decided that a cover-up was better than accepting
23
       responsibility for having hired an unfit and violent police officer.
24
            29. The City Attorney instructed the Police Department not to tell the Deputy
25
       District Attorney assigned to the Toland case that Officer McFarland had been the
26

27

28     4
           Under Brady v. Maryland, 373 U.S. 83 (1963)


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1
       shooter in the Warren case, despite the fact it was obvious Brady evidence, and
2
       despite the fact that Toland’s express defense at his preliminary hearing was that
3
       Officer McFarland had used excessive force without justification.
4
          30. There is no doubt whatsoever that this information was Brady evidence.
5
       Both the judge and the prosecutor said so. The judge expressed “outrage” that the
6
       information had been withheld, and the prosecutor produced the information to the
7
       defense immediately after it was revealed (almost two years into the case), and
8
       then dismissed the assault charges against Mr. Toland.
9

10        The City Attorney’s Lawlessness and Violations of Jeffrey Toland’s Rights
11
          31. The City Attorney’s Office obstructed justice when it directed the Police
12
       Department to withhold this information from the District Attorney and when it
13
       directed the Police Department not to write any internal report about Officer
14
       McFarland. Because of the City Attorney’s obstruction, the District Attorney
15

16
       didn’t find out until March 2021—nearly two years later—that Officer McFarland

17     had been the shooter in the Warren case. Unlike the City Attorney’s Office, the
18     District Attorney’s office followed the law, disclosed the information, and
19     dismissed the charges against Mr. Toland. The prosecutor stated on the record that
20     her office could not proceed with the case against Mr. Toland in light of the
21     disclosures.
22        32. The City knew that if it provided full discovery—something it knew it was
23     constitutionally obligated to do—in the Toland case, Officer McFarland’s history
24
       would be revealed and the ugly facts about the Warren shooting would come to
25
       light.
26
          33. The Warren killing was obviously, quintessential Brady evidence. Just as
27
       he had in the Warren shooting, Officer McFarland panicked, initiated violence, and
28
       escalated the violence against Mr. Toland. Then he lied about it.


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1
          34. The City Attorney’s Office knew that Mr. Toland was constitutionally
2
       entitled to production of all documents, records, and materials that have a
3
       reasonable probability of affecting the outcome of the case. The City Attorney’s
4
       Office knew that the Brady obligation extends to information known to the police
5
       department and everyone else acting on the government’s behalf. And the City
6
       Attorney’s Office knew that the District Attorney’s Office would follow its
7
       constitutional obligations and disclose the information about Officer McFarland if
8
       the Police Department produced it to the District Attorney.
9

10
          35. Moreover, the City Attorney’s Office also knew that if the Police

11
       Department prepared any kind of internal report on Officer McFarland’s behavior,
12     it would include all of the above. So, it advised the Police Department not to
13     conduct any internal investigation or create any reports. In fact, the City Attorney’s
14     Office—through Deputy City Attorney John Nam—told the Police Department
15     hold back on both investigations or reports until Mr. Toland’s time to sue had run
16     out, two years later.
17        36. This is the height of government lawlessness: A City Attorney’s Office
18
       tells a Police Department not to investigate an alleged use of excessive force for
19
       two years, for the explicit reason that if the department did investigate, “it would
20
       lead to litigation.” In other words, the City Attorney knew exactly what Officer
21
       McFarland was and the potential liability they faced because of him. But rather
22
       than take away his badge and gun, they decided to simply hide the facts, keep Mr.
23
       Toland from finding out about Officer McFarland, and see if hiding that
24
       exculpatory evidence could help them “get him a conviction.”
25
          37. The City Attorney’s Office knew that if Mr. Toland and his counsel
26

27
       learned that Officer McFarland had six prior use-of-force incidents in the

28     preceding year at Alhambra, and only four weeks earlier had shot and killed
       another Pasadena citizen, that Mr. Toland would have both a strong defense in his

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1
       criminal case, not to mention a strong civil-rights lawsuit against the City and the
2
       officers.
3
          38. The City Attorney’s Office broke the law to avoid civil liability. But it got
4
       caught, and now it faces civil liability.
5

6         The City Attorney’s Obstruction Is Exposed by an Honest Police Officer
7         39. The City got caught because someone in the Police Department—an officer
8      whose name Mr. Toland does not presently know, but who is clearly brave and
9      honest and believes in justice under law—found out what the City Attorney was
10     doing and knew that it was wrong—and that brave officer gave all the materials to
11     the judge on a flash drive. When the City Attorney’s Office found out, it sent its
12     Chief Deputy City Attorney, Javan Rad, to appear in court and demand that the
13     judge return the flash drive. But the judge knew Brady evidence when she saw it
14
       and refused to give in to Mr. Rad’s demands.
15
          40. The express attempt in open court by the City, by and through its Chief
16
       Deputy City Attorney to prevent disclosure of Brady material is irrefutable
17
       evidence of an illegal and frightening policy of the Pasadena City Attorney’s
18
       Office. By sending its Chief Deputy City Attorney to court to demand return of
19
       Brady materials it had tried to hide, the City proved its creation of, adherence to,
20
       and ratification of a policy of obstructing justice.
21

22
          41.The City Attorney’s act in telling the Police Department to withhold

23
       evidence from the District Attorney’s Office and the defense as well as telling the
24     Police Department not to hold back on any internal investigation of Officer
25     McFarland’s until the statute of limitations for Mr. Toland’s civil rights lawsuit
26     had expired, was a deliberate and considered act in accordance with the City
27     Attorney’s wrongful policy and practice.
28




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1
          42. In enacting this policy, the City knowingly attempted to procure the
2
       wrongful and unconstitutional conviction of Mr. Toland, one of its own residents,
3
       whom it was supposed to protect and defend.
4
          43. Finally, according to the testimony of Lieutenant Kimberly Smith (who
5
       may well have been the courageous officer who provided the materials to the
6
       judge) this was not an isolated incident . Lieutenant Smith testified that she could
7
       think of “ten or fifteen” instances where internal use-of-force reports had been
8
       halted for one or two years—just long enough for the statute of limitations to run
9

10
       on a wronged citizen’s civil rights suit.

11
          44. It shocks the conscience that a City Attorney’s Office would direct such an
12     action. But it did. Hiding exculpatory evidence from a criminal defendant is
13     blatantly illegal and unconstitutional, as every lawyer in the United States knows.
14     But the City Attorney’s Office did it—deliberately—in order to try to shield the
15     City from civil liability for the actions of a violent police officer. They
16     deliberately attempted to procure the wrongful conviction of Mr. Toland in order to
17     prevent Mr. Toland from suing the police officers who beat and choked him. The
18
       court was right to describe the City Attorney’s Office’s actions as “outrageous.”
19
          45.Fortunately, the worst possible outcomes of the City Attorney’s efforts were
20
       avoided, although only by the tenacity of the trial judge and the brave and honest
21
       actions of the unnamed officer who provided the exculpatory evidence to the court
22
       despite the City Attorney’s attempts to hide it.
23
          46.When the prosecution finally saw the exculpatory evidence, it dismissed the
24
       charges against Mr. Toland, and a grave miscarriage of justice was narrowly
25
       avoided.
26

27
          47.The judge stated that in 26 years on the bench, she had never seen such an

28     outrageous attempt to by a city to interfere in the criminal discovery process. She
       stated that the City Attorney’s actions undermined public trust in the integrity of

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1
       the criminal justice system, and that the District Attorney’s Office should
2
       investigate the Pasadena City Attorney’s Office “at the highest levels,” to ensure
3
       that what happened to Mr. Toland “never, ever happens again.”
4
          48.Accordingly, Mr. Toland brings this suit to hold these officers and the City
5
       Attorney’s Office accountable for their actions, because no other government
6
       agency will do so.
7
          49. The Court stated that it was shocked and outraged. Mr. Toland was also
8
       shocked and outraged. And the public should be shocked and outraged. It
9

10
       eviscerates the public trust in the integrity of our criminal justice system when City

11
       officials who should not have anything to do with criminal prosecution secretly
12     conspire to hide exculpatory evidence from the defense in order to shield violent
13     officers from civil lawsuits. The Court’s comments from the bench need no
14     elaboration: “This should never, ever happen again.”
15        50. By this lawsuit, Mr. Toland seeks to ensure that it never does.
16
                            JURISDICTION, PARTIES AND VENUE
17
          51. The claims alleged herein arise under the Constitution and laws of the
18
       United States, giving this court jurisdiction under 28 USC § 1331. This Court has
19
       subject-matter jurisdiction over this action because the case arises under the Fourth
20

21
       and Fourteenth Amendments to the United States Constitution, and under Title 42

22
       §§ 1983 et seq. of the Unites States Code.
23        52. Any additional claims arising from the acts and omissions herein alleged are
24     supplemental in nature as that term is interpreted for the purposes of 28 USC
25     §1367.
26        53.Venue is proper in this Court because Mr. Toland and the Defendants reside
27     in this District. Further, all or a substantial part of the events or omissions giving
28     rise to the claims for relief occurred in this District.


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          54. Mr. Toland is 58 years old. He lives in Pasadena, in Los Angeles County,
2
       California, within the Central District of California.
3
          55. Defendant Zachary McFarland (“Officer McFarland”) was, at all relevant
4
       times, an officer with the Pasadena Police Department. He committed the acts at
5
       issue herein during the course and scope of his employment with the Pasadena
6
       Police Department, within the Central District of California. He is sued in his
7
       individual and official capacities.
8
          56. Defendant Stephanie Lack (“Officer Lack”) was, at all relevant times, an
9

10
       officer with the Pasadena Police Department. She committed the acts at issue

11
       herein during the course and scope of her employment with the Pasadena Police
12     Department, within the Central District of California. She is sued in her individual
13     and official capacities.
14        57. Defendant John Nam (“Mr. Nam”) was, at all relevant times, a Deputy City
15     Attorney in the Pasadena City Attorney’s Office. He committed the acts at issue
16     herein during the course and scope of his employment with the Pasadena City
17     Attorney’s Office. He is sued in his individual and official capacities.
18
          58. Defendant Pasadena City Attorney’s Office (“City Attorney’s Office” or
19
       “City Attorney”) is an agency of the City of Pasadena. As set forth herein, it is
20
       properly sued under Monell v. New York City Department of Social Services, 436
21
       U.S. 658 (1978) because it committed the acts at issue herein pursuant to a policy,
22
       custom, and practice, and with the direction and ratification of relevant
23
       policymakers.
24
          59.    Mr. Toland is ignorant of the true names and capacities of defendants
25
       sued herein as Does 1 through 10, inclusive, and therefore sue said defendants by
26

27
       fictitious names. Mr. Toland will amend this complaint to allege their true names

28     and capacities when they are ascertained.



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1
          60. Mr. Toland is informed and believes and therefore alleges that each of the
2
       fictitiously named defendants was responsible in some manner for the occurrences
3
       herein alleged, including without limitation aiding and abetting the wrongful acts
4
       of Defendants as set forth herein, and that Mr. Toland’s injuries as herein alleged
5
       were proximately caused by said Defendants.
6
          61. Mr. Toland is informed and believes and therefore alleges that Defendants
7
       were the agents of their co-defendants and in doing the acts herein alleged were
8
       acting within the scope of such agency and with the permission of their co-
9

10
       defendants.

11                                 STATEMENT OF FACTS
12        Officers McFarland and Lack Beat and Choke Mr. Toland, and then Lie
13                                           About It
14        62.The photos below are taken from Officer McFarland’s dashboard camera
15
       and body camera. The testimony quoted herein was given under oath by Officers
16
       McFarland and Lack, respectively.
17
          63. At approximately 10:10 p.m. on June 21, 2019, Mr. Toland was driving his
18
       teenage daughter home from a friend’s house. Approximately one mile from the
19
       Toland family’s home, at the intersection of St. John Avenue and Del Mar
20
       Boulevard, Mr. Toland turned right onto Del Mar.
21
          64. Defendant Zachary McFarland (“Officer McFarland”), who was 26 years
22

23
       old and was a probationary Pasadena police officer, and had been employed by the

24
       Pasadena Police Department for less than a year, was on patrol in the area. He was
25     about 200 to 300 feet away from Mr. Toland’s vehicle when Mr. Toland made the
26     turn.
27

28




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1
          65. Officer McFarland decided to follow Mr. Toland. The reasons for his
2
       decision remain unclear. Mr. Toland did not violate any traffic laws, and was
3
       never given a traffic ticket.
4
          66.Officer McFarland followed Mr. Toland as he headed toward his home,
5
       down Del Mar, to Orange Grove, to Ellis. He later claimed that Mr. Toland’s
6
       brake lights “were not working properly.” However, the dashboard video from
7
       Officer McFarland’s vehicle proved this statement to be false. The image below is
8
       from Officer McFarland’s dashboard camera, just seconds before he activated his
9

10
       flashing lights.

11
          67. In fact, as the following image from his dash-cam shows, Officer
12     McFarland plainly saw Mr. Toland’s brake lights working normally.
13

14

15

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23
          68. When confronted at the preliminary hearing with the above video, clearly
24
       showing the brake lights working normally, Officer McFarland claimed that
25
       although in real time, to the naked eye, they appeared to be working normally,
26
       when the video was slowed down and viewed frame by frame, the right rear brake
27
       light illuminates approximately one frame (or one twentieth of a second) after the
28
       center and left brake lights.

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1
           69. Officer McFarland claimed at the preliminary hearing, for the first time, that
2
       he had actually seen that twentieth-of-a-second delay, and that it was the reason for
3
       the traffic stop. He also claimed that such a twentieth-of-a-second delay
4
       constituted a violation of California motor vehicle laws.
5
           70. Officer McFarland’s claim was false as a matter of fact and baseless as a
6
       matter of law.5
7
           71. Officer McFarland never mentioned this claimed “twentieth-of-a-second
8
       delay” observation to anyone that night—not to Mr. Toland, and not to Officer
9

10
       Torres, to whom he dictated his narrative of events.

11
           72. In fact, Officer McFarland never told anyone that he had supposedly seen
12     this claimed twentieth-of-a-second delay until November 2019, after Mr. Toland
13     filed a brief with the Court including the video, which showed the brake lights
14     working normally.6 The assigned Deputy District Attorney brought Officer
15     McFarland to her office to review the video and Mr. Toland’s brief, and it was at
16     that meeting, apparently, after being shown his own video showing the brake lights
17     working normally, that Officer McFarland first “remembered” that he had seen a
18
       twentieth-of-a-second delay.
19

20

21     5
         Officer McFarland knew, and should have known, that there is nothing in the
22     California Vehicle Code that suggests that one brake light illuminating a twentieth
       of a second after another light is a violation of any kind. When confronted with
23
       this fact in court, Officer McFarland claimed that any lack of perfect simultaneity
24     constituted a violation Vehicle Code section 24252(a). But Vehicle Code section
25
       24252(a) states only that a vehicle’s brake lights must be in “good working order.”
       No reasonable person would believe, and Officer McFarland did not have any basis
26
       for believing (nor did he in fact believe when he pulled Mr. Toland over), that
27     Vehicle Code section 24252(a) justified a stop on the grounds of a twentieth-of-a-
       second illumination delay that was not visible to the naked eye. Simply put,
28
       McFarland’s statements made months later were after-the-fact fabrications.


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1
          73. After following Mr. Toland for around a minute, Officer McFarland
2
       activated his overhead lights. Mr. Toland, who was only about 100 yards from
3
       home and was traveling slowly, turned on his right-hand turn indicator and reached
4
       his arm out his window, waving and pointing to his right to indicate where he was
5
       going. He continued to his home and pulled into his driveway. He came to a stop
6
       27 seconds after Officer McFarland activated his lights.
7
          74. Mr. Toland and his daughter prepared to get out of the car. Mr. Toland
8
       opened the driver’s side door.
9

10
          75. Officer McFarland pulled up on the street behind Mr. Toland’s driveway,

11
       got out, walked up to the driver’s door, which was open. As he walked up the
12     driveway, Mr. Toland smiled and turned and started to get out of the car to greet
13     Officer McFarland.
14        76. Officer McFarland put his hand on Mr. Toland’s shoulder and roughly
15     pushed him back into the car, saying “Stay in the car. Stay in the car.”
16        77. The following image is from Officer McFarland’s body camera, and shows
17     him pushing Mr. Toland:
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1
          78. Officer McFarland requested Mr. Toland’s driver’s license and other
2
       documents. Mr. Toland provided his insurance card and stated calmly that he
3
       would need to go inside to get his license. Officer McFarland refused to let him go
4
       inside, again ordering him to stay in the car.
5
          79. Officer McFarland then said: “When the red lights come on, state law says
6
       you have to pull over.” Mr. Toland asked what he was being pulled over for. He
7
       asked four times before Officer McFarland answered.
8
          80. First, Mr. Toland asked “Has there been a breach of the peace?” Officer
9

10
       McFarland responded “Yes, there has been. You have a vehicle code violation on

11
       your car and that’s why I’m pulling you over.” Mr. Toland then asked two more
12     times what that violation was. Officer McFarland refused to answer, responding
13     instead each time: “What’s your last name?” Mr. Toland then began asking again
14     and Officer McFarland interrupted him, again not answering the question, saying,
15     “You are being detained for a traffic code violation.” “Which is what?” Mr.
16     Toland asked.
17        81. Only Officer McFarland knows what he was thinking at the time, but it
18
       appears from the video that Officer McFarland was trying to think of something to
19
       say to justify the stop. Finally, after the fourth request from Mr. Toland, he
20
       responded “Your brake light is not working properly.” As noted, the video from
21
       Officer McFarland’s dashboard camera proves that that statement was not true, and
22
       that in fact Officer McFarland had observed Mr. Toland’s brake lights working
23
       normally before pulling him over.
24
          82. Officer McFarland then asked Mr. Toland’s name, and Mr. Toland told
25
       him. “My name is Jeff Toland.”
26

27
          83. Officer McFarland then repeatedly addressed the 55 year-old Mr. Toland as

28     “Jeff,” and berated him for not stopping immediately. “Jeff, is there a reason that
       you did not pull over when I pulled you over?” Mr. Toland answered “Because I

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       was right here.” Officer McFarland: “What’s right here?” Mr. Toland: “Home.”
2
       Officer McFarland: “That’s not an excuse. You are required by law.” Officer
3
       McFarland’s tone was aggressive and belligerent.
4
          84. Mr. Toland, sensing Officer McFarland’s tone and increasing agitation, and
5
       hoping to de-escalate the situation (and concerned for his daughter, who was still
6
       in the car), tried to placate Officer McFarland. “I respect what you’re doing, you
7
       know, because you’re out here, you know, taking care of whatever you have to
8
       take care of. You know, so I do respect that, but I haven’t done anything.”
9

10
          85.Officer McFarland responded: “You’ve committed a vehicle code violation

11
       which is grounds for me to stop you.” He then said, again, “Tell me your last
12     name,” which Mr. Toland had already told him. Mr. Toland did so again, spelling
13     it out and gave Officer McFarland his date of birth and address. After calmly
14     providing that information, Mr. Toland asked again “What was the reason for
15     pulling me over?” Officer McFarland refused to answer: “I already explained that
16     to you, sir.” Mr. Toland was confused because he knew that his brake lights were
17     working normally. At this point Mr. Toland asked his daughter if she wanted to go
18
       inside. Officer McFarland said sarcastically: “Is this your daughter? Are you
19
       setting a good example right now for your daughter?” This comment, and Officer
20
       McFarland’s tone, were nasty, unprofessional, and unnecessary.
21
          86. Officer McFarland stood over Mr. Toland in the open driver’s door during
22
       this entire interaction, mere inches from him. McFarland was shining his flashlight
23
       directly into Mr. Toland’s eyes, causing Mr. Toland to flinch and try to shield his
24
       eyes, as shown in the following image from Officer McFarland’s body camera.
25
       McFarland’s conduct was neither necessary nor appropriate.
26

27

28




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13        87.At this point Defendant Stephanie Lack, another Pasadena Police
14
       Department officer, walked up the driveway. She had seen Officer McFarland’s
15
       car parked on the street and stopped to see if he needed assistance. Officer
16
       McFarland greeted her, then gestured toward Mr. Toland and said “Extremely un-
17
       co-op.” (Mr. Toland, as the video confirms, had done nothing uncooperative.)
18
          88.Officer McFarland and Officer Lack then asked Mr. Toland more questions
19
       about the car—but still would not let him go into the house to get his wallet.
20
       Officer McFarland then ordered Mr. Toland to get out of the car while still
21

22
       standing there mere inches from him in the open driver’s side doorway, blocking

23
       his exit.

24        89. Mr. Toland obeyed the command and leaned forward to step out of the car.
25     Officer McFarland simultaneously reached down and grabbed Mr. Toland’s left
26     arm and pulled on it, despite Mr. Toland being in the act of complying with the
27     command. In the image below, from Officer McFarland’s body camera, Officer
28




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1
       McFarland’s right arm is shown on the lower right, reaching in to grab Mr.
2
       Toland’s left arm as Mr. Toland steps out of the vehicle.
3

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13        90. Officer McFarland leaned back and twisted his body as he pulled on Mr.
14
       Toland’s arm. This action was improper and contrary to applicable norms and best
15
       practices. There was no reason for Officer McFarland to grab Mr. Toland and try
16
       to pull him out. Mr. Toland was attempting to comply as Officer McFarland
17
       pulled on him. And there was no reason for Officer McFarland to be standing in
18
       the doorway, directly on top of Mr. Toland, in the first place.
19
          91. The proper conduct in this situation would have been for Officer
20
       McFarland to step back and give Mr. Toland room to exit the vehicle. Instead,
21
       Officer McFarland chose to grab Mr. Toland’s arm while standing almost directly
22

23
       on top of him. As Officer McFarland did so, he lost his balance and stumbled

24     sideways, while still holding Mr. Toland’s left arm with his right hand.
25        92. Officer McFarland then yelled “Don’t tense up on me!”
26        93. When describing the incident to other officers afterward, Officer McFarland
27     lied. He told them that Mr. Toland had leaped out of the car, gotten behind him,
28     and wrapped his arm around Officer McFarland’s neck in an “arm bar,” for five


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       seconds, causing Officer McFarland to almost lose consciousness. This story was
2
       false, as demonstrated by video evidence, Officer Lack’s sworn testimony, and
3
       Officer McFarland’s own later admissions.
4
          94. Officer McFarland immediately grew angry and violent. By his own later
5
       admission, after pulling and twisting on Mr. Toland’s arm, during which act he
6
       claims Mr. Toland’s arm made contact with his neck as he pulled and twisted, he
7
       straightened up and stepped back from Mr. Toland. Then, while facing him and
8
       not in contact with him, deliberately punched Mr. Toland in the face.
9

10
          95. The following is Officer McFarland’s testimony regarding punching Mr.

11
       Toland in the face:
12        Q: So you were no longer—after one to three seconds, you were no longer in
13        physical contact with Mr. Toland?
14        A: Correct.
15        Q: And it was at that point that you made the decision to punch him in the face?
16        A: Yes, it was.
17
       Testimony of Officer McFarland, Jan. 22, 2020, at 150:26-151:4.
18

19
          96. Punching someone in the face without warning is the definition of a
20
       “sucker punch.” That is not how police officers should behave.
21
          97.Punching Mr. Toland in the face was inexcusable and unjustified. Officer
22

23
       McFarland punched Mr. Toland while he was standing facing Mr. Toland and not

24
       in physical contact with him. There was no legal basis for his punching Mr.
25     Toland in the face.
26        98. Officer McFarland then grabbed Mr. Toland around the waist and tackled
27     him to the ground. He then punched Mr. Toland approximately a dozen times in
28     the head. He then Tased him twice and, as Mr. Toland sat on the ground, stood


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1
       behind Mr. Toland, putting his arm around Mr. Toland’s throat and attempted to
2
       choke Mr. Toland into unconsciousness.
3
          99. Officer Lack radioed for assistance when Officer McFarland tackled Mr.
4
       Toland. She then joined Officer McFarland as he tried to choke Mr. Toland. She
5
       put her arm around Mr. Toland’s neck as well, and attempted to choke him into
6
       unconsciousness.
7
          100.       Officer McFarland lied about why he did these things. He told the
8
       other officers who responded that Mr. Toland had leaped out of the car, gotten
9

10
       behind him, and applied an “arm bar” around his neck for “five seconds,” until he

11
       “felt himself losing consciousness.” That did not happen.
12        101.       Officer Lack made deliberately false statements as well. She signed
13     a report stating that she had seen Mr. Toland “violently attack” Officer McFarland.
14     In fact, she later admitted that she never saw anything of the kind. Under oath, her
15     testimony was as follows:
16        Q: You also wrote in your report, didn’t you, that “Mr. Toland violently
17        attacked Officer McFarland as he was stepping out of the vehicle.” Is that what
18
          you wrote?
19
          A: Yes.
20

21
       Testimony of Officer Lack, Feb. 7, 2020, at 259:20-24.

22
          Q: So Ma’am, isn’t it true that, in fact, you did not witness Mr. Toland, quote,

23
          violently attack Officer McFarland as Mr. Toland was stepping out of the
24        vehicle. You didn’t see that, did you?
25        A: No.
26
       Testimony of Officer Lack, Feb. 7, 2020, at 261:6-10.
27
          …
28




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1
          102.       Officer Lack signed a false police report, falsely stating that she saw
2
       Mr. Toland attack Officer McFarland, despite knowing that she had in fact seen no
3
       such thing.
4
          103.       Officer Lack also failed to tell anyone that in fact she had not in fact
5
       seen Mr. Toland violently attack Officer McFarland—until she was subpoenaed by
6
       defense counsel and placed under oath. This is her testimony:
7
          Q: At any time did you tell any representative of the District Attorney’s Office
8
          that you, in fact, did not see Mr. Toland attack Mr. McFarland? Did you ever
9

10
          tell anyone that before today?

11
          A: No.
12     Testimony of officer Lack, Feb. 7, 2020, at 280:5-9.
13        104.       Officer Lack made these admissions—that she signed a false police
14
       report claiming to see an “attack” that she in fact never saw and that she then kept
15
       quiet about it—under oath, in open court, on February 7, 2020, in the presence of a
16
       Deputy District Attorney. Yet as of the date of this Complaint, she remains an
17
       active member of the Pasadena Police Department. She has not been disciplined,
18
       fired, or charged with making a false police report.
19
          105.       Officer Lack also stated, under oath, that despite the fact that she was
20
       standing approximately three feet away when Officer McFarland punched Mr.
21

22
       Toland in the face and tackled him to the ground—acts which he testified under

23
       oath he committed right in front of her—she had no recollection of seeing either
24     event. The following is her testimony:
25        Q: Did you see him punch Mr. Toland in the face while standing next to the
26        door of the car?
27        A: No.
28
       Testimony of Officer Lack, Feb. 7, 2020, at 272:16-18.


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2
          106.       Officer Lack admitted that she saw Mr. Toland and Officer
3
       McFarland standing by the car door, with their hands down at their sides, and that
4
       Mr. Toland did not do or say anything violent or threatening. Incredibly, though,
5
       Officer Lack—who was standing right next to Mr. Toland and Officer McFarland
6
       when Officer McFarland threw Mr. Toland to the ground—claimed she had “no
7
       memory” of how Mr. Toland ended up on the ground. The following is her sworn
8
       testimony:
9

10
          Q: Did there come a time when Mr. Toland ended up on the ground?

11
          A: Yes.
12        Q: Did Mr. Toland end up on the ground after you had reached the side of the
13        vehicle where he was standing with Officer McFarland?
14        A: Yes.
15        Q: Were you able to observe the manner in which Mr. Toland ended up on the
16        ground?
17        A: No.
18
          Q: So I’d like to direct your attention to your observations beginning at the
19
          point you’ve just identified: when you come around the side of the vehicle, and
20
          you’re able to see Mr. Toland and Mr. McFarland. Your testimony is that there
21
          came a point in time after that that Mr. Toland ended up on the ground; correct?
22
          A: Yes.
23
          Q: Were you able to see how it happened?
24
          A: I do not know how it happened. I was there, but I do not know how he went
25
          from standing to being on the ground.
26

27     Testimony of Officer Lack, Feb. 7, 2020, at 248:21-249:13.
28




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                                               29
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1
          Q: If I understand your testimony correctly, I asked you what happened next,
2
          and you said your next memory is that he was on the ground; correct?
3
          A: Correct.
4
          Q: I would like, if I could, to focus your memory on how that happened. Do
5
          you have a memory of how Mr. Toland came to be transferred from a standing
6
          position to being on the ground?
7
          A: I do not.
8
          Q: When it came to him moving from a standing position to being on the
9

10
          ground, you were about six inches away; correct?

11
          A: Correct.
12     Testimony of Officer Lack, Feb. 7, 2020, at 257:23-258:7.
13        Q: Do you have any memory in your head, as you sit here today, of the manner
14
          in which Mr. Toland came to go from a standing position to being on the
15
          ground?
16
          A: No.
17

18     Testimony of Officer Lack, Feb. 7, 2020, at 262:8-10.
19

20        107.       Officer Lack’s testimony at the preliminary hearing that she had no
21     memory of events that happened directly in front of her, three feet away, while she
22     was watching, is neither true nor credible. In fact, Officer Lack watched Officer
23     McFarland punch Mr. Toland and push him to the ground, without justification.
24        108.       It is a violation of the trust Americans must place in our police
25     officers for a police officer to come into court and testify under oath in detail about
26     an incident, then claim to have “no memory” of alleged misconduct committed by
27
       another officer right in front of her. Officer Lack was standing directly next to
28
       Officer McFarland, when Officer McFarland—by his own admission—punched


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                                                30
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1
       Mr. Toland in the face and tackled him to the ground. But Officer Lack claimed,
2
       under oath, that she didn’t see Officer McFarland punch Mr. Toland, and simply
3
       had no idea how Mr. Toland ended up on the ground. False testimony and
4
       selective failures of memory from public officials endanger the public and
5
       everyone’s rights under the Constitution.
6
          109.       Officer Lack’s absence of any memory of what she saw Officer
7
       McFarland do—while standing three feet away from him, watching him—could
8
       have been remedied by footage from her body camera. But for unknown reasons,
9

10
       the footage from Officer Lack’s body-worn camera is lost or missing: it was never

11
       provided to the District Attorney, the defense, or the court.
12        110.       Officer McFarland made false statements at the preliminary hearing,
13     claiming that Mr. Toland had assaulted him and that he was “extremely afraid for
14     [his] life.” He claimed that as he tried to pull Mr. Toland out of the car “using my
15     leverage in a twisting motion,” Mr. Toland brought his right arm up to Officer
16     McFarland’s throat and “applied pressure” to it. That testimony is false. Officer
17     Lack admitted under oath that she did not see any such thing.
18
          111.       Officer McFarland also falsely claimed at the preliminary hearing
19
       that when he threw Mr. Toland to the ground, he fell under Mr. Toland and was
20
       pinned under him. Officer McFarland’s testimony follows:
21
          Q: Did you eventually go to the ground?
22
          A: Yes, I did.
23
          Q: Describe for us how that happened.
24
          A: When we fell to the ground, the defendant landed on top of me, on my right
25
          side. He stayed on top of me. Even after I gave him commands to get off me,
26

27
          he continued to stay on top of me.

28     Testimony of Officer McFarland, Jan. 22, 2020, at 73:21-27.


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1
          112.       Officer McFarland’s testimony was false and it was directly
2
       contradicted by Officer Lack’s sworn testimony. Officer Lack—who was three
3
       feet away and watching—testified that Officer McFarland was never on the ground
4
       at all. The following is her testimony:
5
          Q: When you saw Mr. Toland on the ground, you were able to observe that
6
          neither you or Officer McFarland was on top of him, correct?
7
          A: Correct?
8
          Q: Officer McFarland was not lying on the ground; correct?
9

10
          A: No.

11
          Q: You never saw Officer McFarland lying on the ground; correct?
12        A: No.
13
       Testimony of Officer Lack, Feb. 7, 2020, at 10:-23.
14

15
          113.       It was at this point, while Mr. Toland was seated on the ground on
16
       his driveway, neither saying nor doing anything threatening, and not in physical
17
       proximity to Officer Lack or Officer McFarland, that they made the deliberate
18
       decision to grab Mr. Toland around the throat and try to choke him into
19
       unconsciousness by cutting off the blood flow to his brain. They did this as Mr.
20
       Toland was simply sitting still with his hands on the ground, saying “I didn’t do
21

22
       anything.” Their intent is confirmed by Officer Lack’s testimony:

23
          Q: It’s an attempt to cut off blood flow to the brain to render the victim
24        unconscious; right?
25        A: Correct.
26        Q: You were attempting to render him unconscious by squeezing your arm
27        under his neck; correct?
28        A: Correct.


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1
       Testimony of Officer Lack, Feb. 7, 2020, at 267:18-23.
2
           114.         The officers grabbed his throat, one from each side, and began
3
       choking Mr. Toland while he was seated on his driveway, with his hands on the
4
       ground, not touching anyone or saying or doing anything violent, but simply
5
       staying in a seated position. Officer McFarland confirmed this:
6
           Q: He’s in a seated position, and you and Officer Lack are behind him; correct?
7
           A: We’re—I think Officer Lack might be behind him. I’m on his left side, I
8
           believe.
9
           Q: What you wanted him to do was lie down on his stomach?
10

11
           A: Correct.

12     Testimony of Officer McFarland, Jan. 22, 2020, at 154:1-9.
13         115.        Because Mr. Toland remained seated, and did not lie down on his
14     stomach, both officers reached around his neck and squeezed, attempting to cut off
15
       blood flow to his brain and render him unconscious.
16
           Q: She used her arm, put it around Mr. Toland’s neck, and squeezed?
17
           A: Correct.
18
           Q: You recognized that to be a carotid control hold?
19
           A: I did.
20
       …
21
           Q: You subsequently also put your arm around Mr. Toland’s throat and tried to
22
       squeeze with a carotid control choke hold; correct?
23
           A: Correct.
24
       Testimony of Officer McFarland, Jan. 22, 2020, at 154:25-155:12.
25
           116.         Officer McFarland and Officer Lack violated clearly established law
26

27
       when they applied a chokehold to Mr. Toland as a response to “passive resistance,”

28     viz., sitting still on his driveway.



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1
          117.        A chokehold—the application of force to a person’s neck to cut off
2
       blood flow—is deadly force, whatever name (e.g., “carotid control hold”) it is
3
       given.
4
          118.      It is clearly established law that officers may not employ a chokehold
5
       to overcome passive resistance such as the failure of a person to obey a verbal
6
       command.
7
          119.        When Officer McFarland and Officer Lack grabbed him around the
8
       throat and tried to choke him into unconsciousness, Mr. Toland instinctively tried
9

10
       to save his life. He reached up with both hands and grabbed hold of the two arms

11
       around his neck (Officer Lack’s and Officer McFarland’s) in a desperate attempt to
12     keep breathing.
13        120.        In response, Officer McFarland, while continuing to try to choke Mr.
14     Toland with his right arm, punched Mr. Toland in the head and face between ten
15     and twenty times with his left hand.
16        121.        Officer McFarland also Tased Mr. Toland twice.
17        122.        Officer McFarland and Officer Lack could have killed Mr. Toland
18
       with the chokehold they were applying to his throat.
19
          123.        Despite the barrage of punches to the head, Mr. Toland, thankfully,
20
       was able to stay conscious and keep Officer Lack’s and Officer McFarland’s arms
21
       away from his throat and carotid arteries until other officers arrived.
22
          124.        Officer McFarland and Officer Lack then made false statements in
23
       their reports of the incident.
24
          125.        In Officer McFarland’s report (which he dictated to Officer Torres,
25
       and did not sign), he claimed that Mr. Toland had jumped out of the car,
26

27
       “maneuvered” behind him, and grabbed him around in an “arm bar” and choked

28     him for “approximately 5 seconds” until he “felt himself blacking out.”
          126.        He later admitted that none of those things actually happened.

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1
          127.        Video confirms as well that none of those things actually happened.
2
          128.        Officer Lack—who was three feet away—also confirmed under oath
3
       that she did not see any such things happen.
4
          129.        Officer Lack, however, signed a report that same night claiming that
5
       Mr. Toland “violently attacked” Officer McFarland.
6
          130.        She later admitted that in fact she never saw any such thing. The
7
       following is her sworn testimony:
8
          Q: So, Ma’am, isn’t it true that, in fact, you did not witness Mr. Toland, quote,
9

10
          violently attack Officer McFarland as Mr. Toland was stepping out of the

11
          vehicle. You didn’t see that, did you?
12        A: No.
13
       Testimony of Officer Lack, Feb. 7, 2020, at 261:6-10.
14
          131.       Here is what Officer Lack actually saw:
15
          Q: As far as what you saw, Mr. Toland was simply standing there with his
16
          hands at his sides; correct?
17
          A: Yes.
18
       Testimony of Officer Lack, Feb. 7, 2020, at 256:12-14.
19
          132.        As a result of Officer McFarland and Officer Lack’s false
20

21
       statements, both on the night of the incident and at the preliminary hearing, Mr.

22     Toland was arrested and charged with felony counts of battery against a police
23     officer and resisting arrest.
24        133.        Officer McFarland and Officer Lack gave the testimony set forth
25     above, under oath, in court, at the preliminary hearing on the charges brought
26     against Mr. Toland in the presence of a Deputy District Attorney. Despite Officer
27     Lack’s admission that her signed report was false, her non-credible claim to have
28     no memory of how Mr. Toland ended up on the ground, and the fact that her sworn


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1
       testimony directly contradicts Officer McFarland’s, neither the District Attorney’s
2
       Office nor the Police Department has taken action against Officer McFarland and
3
       Officer Lack.
4
          134.       Neither Officer McFarland nor Officer Lack apologized for their false
5
       statements or showed any remorse for making them.
6
          135.         No American should be subject to being punched, tackled, Tased,
7
       and choked, in his own driveway, during a routine traffic stop.
8
          136.       Officer McFarland and Officer Lack committed the acts set forth
9

10
       above while on duty within the course and scope of their employment with the

11
       Pasadena Police Department.
12        137.         Mr. Toland was harmed by Officer McFarland’s and Officer Lack’s
13     conduct. He suffered significant physical injuries subject to proof at trial, when
14     Officer McFarland and Officer Lack tackled, punched, Tased, and choked him.
15        138.       He suffered significant psychological and emotional harms, subject to
16     proof at trial, because of Officer McFarland’s and Officer Lack’s conduct, which
17     could easily have killed him and caused him to fear that he was about to be killed,
18
       and the fact that it occurred at his home, in his driveway, in front of his wife and
19
       young daughter, who were also traumatized and horrified at the violence Officer
20
       McFarland and Officer Lack inflicted on Mr. Toland.
21
          139.       Mr. Toland was harmed by Officer McFarland’s and Officer Lack’s
22
       false statements because those false statements caused him to be arrested and
23
       initially charged with attempted murder. He spent two days in custody on those
24
       charges, thinking he might be facing life in prison, before being informed that the
25
       District Attorney had reduced the charges. He suffered additional psychological
26

27
       and emotional harms from that time in custody under the threat of the unwarranted

28     initial charges procured by Officer McFarland’s and Officer Lack’s false
       statements.

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1
          140.          Mr. Toland continues to suffer economic, psychological and
2
       emotional, and reputational harms caused by the pendency of the criminal charges,
3
       which continue to be buttressed by Officer McFarland’s false statements (that Mr.
4
       Toland grabbed or hit his throat, and that Mr. Toland fell on top of him and pinned
5
       him to the ground); and by Officer Lack’s false statements in claiming that she has
6
       no memory of the critical events that occurred directly in front of her, while she
7
       was watching.
8
          141.          Officer Lack had a professional, legal, and moral duty to inform her
9

10
       superiors the night of the incident that she never saw Mr. Toland do anything

11
       violent or attack anyone, and that Officer McFarland was never on the ground.
12     She should have done her duty and told the truth at the outset. Instead, she elected
13     to protect Officer McFarland and sign her name to a report she knew to be false.
14        142.          Police officers should be honest. They should not sign their names to
15     false reports.
16        143.          Mr. Toland suffered significant reputational harms, subject to proof
17     at trial, from being falsely accused by Officer McFarland and Officer Lack of
18
       “attacking” Officer McFarland.
19
          144.          He suffered significant economic damages, subject to proof at trial,
20
       from being falsely accused by Officer McFarland and Officer Lack of “attacking”
21
       Officer McFarland.
22
             The City Attorney’s Office Attempts to—and for a Time Succeeds in—
23                            Concealing Exculpatory Evidence
24
          145.      The City Attorney’s Office willfully, deliberately, and in
25
       conspiratorial fashion tried to impede or prevent this civil suit by concealing
26
       exculpatory evidence in Mr. Toland’s unwarranted criminal prosecution.
27

28




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1
          146.       During a series of discovery hearings in the winter of 2020-2021, an
2
       extremely disturbing set of facts was revealed, as set forth in the following
3
       paragraphs.
4
          147.       In sum, the Pasadena City Attorney’s Office was fearful of facing
5
       civil liability for Officer McFarland’s violent and illegal conduct and decided that
6
       the best way to prevent Mr. Toland from suing was to ensure that he was convicted
7
       of assaulting the officers. But to ensure the conviction, the office would have to
8
       prevent the defense, the court, and the prosecution from learning about Officer
9

10
       McFarland’s violent history. Furthermore they would have to prevent the Police

11
       Department from doing an internal use-of-force investigation into Officer
12     McFarland.
13        148.       The office did both. It acted—with, by and through its employees and
14     agents, including at least Defendant Deputy City Attorney John Nam, Chief
15     Deputy City Attorney Javan Rad, and Deputy City Attorney Arnold Lee—in a
16     conspiracy to deliberately deprive Mr. Toland of his constitutional right to
17     exculpatory evidence and with the specific intent to procure his conviction of a
18
       felony offense.
19
          149.       These actions were conducted by the City Attorney’s Office, pursuant
20
       to, as part of, in conformity with, and as ratified by, its practices and policies, and
21
       with the knowledge and approval of its policymaker. The City Attorney’s Office is
22
       therefore liable directly as a section 1983 defendant, under Monell v. New York
23
       City Department of Social Services, 436 U.S. 658 (1978).
24
          150.       In criminal prosecutions, the prosecutor has a constitutional and
25
       ethical obligation to produce all exculpatory material to the defense. That
26

27
       obligation extends to all materials in the possession of the investigating agency, in

28     this case the Police Department. And in this case, in a blatantly illegal action that
       as attorneys they certainly knew was illegal, attorneys Nam and Rad, acting on

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1
       information and belief with the knowledge and approval of the City Attorney’s
2
       Office for which they worked, interfered in the discovery process, directing the
3
       Police Department not to share numerous—indeed ultimately hundreds—of
4
       exculpatory documents with the prosecution so that the prosecution would not be
5
       able to provide them to the defense. Attorneys Nam and Rad knew exactly what
6
       they were doing, knew that it was unconstitutional, and they did it anyway, all to
7
       save the City from having to pay out money to compensate a victim of excessive
8
       force. They then tried to cover up what they did.
9

10
          151.       Thankfully, a brave police officer knew that what the City Attorney’s

11
       Office was doing was wrong and provided the court with the exculpatory materials.
12        152.       Those materials—materials that the City Attorney’s Office and Mr.
13     Rad and Mr. Nam deliberately conspired to and did attempt to prevent Mr. Toland
14     and the prosecution from receiving—included, among other things, the following:
15     (a) reports showing that Officer McFarland shot and killed another Pasadena
16     citizen on May 17, 2019, only a month before he beat Mr. Toland; and (b) memos
17     and emails showing that the Department had halted its use-of-force investigation of
18
       Officer McFarland’s beating of Mr. Toland at the direction of the City Attorney’s
19
       Office, specifically in order to avoid potential civil liability if Mr. Toland filed a
20
       civil rights lawsuit.
21
          153.       On June 2, 2020, nearly a year after the incident (and cognizant of the
22
       fact that under state law the Department has only one year to discipline an officer
23
       for misconduct), Lieutenant Kim Smith, who runs Internal Affairs for the
24
       Department, wrote to her colleague Lieutenant William Grisafe, asking why the
25
       investigation into Officer McFarland had been halted. Lieutenant Grisafe replied:
26

27
       “It sounds like the decision was made out of anticipation that it would lead to a

28     lawsuit.”



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1
          154.      In other words—we better not write any reports about this, because if
2
       we do, our conclusions might support a civil rights lawsuit. It is shocking to think
3
       that a Police Department—which is obligated by law, by policy, and by a basic
4
       sense of decency and right and wrong—would choose to simply not conduct an
5
       investigation into two successive uses of deadly force by a probationary officer in
6
       the course of a single month, out of fear that doing so might “lead to a lawsuit.”
7
          155.      This decision raises a critical question, that this lawsuit seeks to
8
       answer: Are police departments accountable to the citizens and communities they
9

10
       serve, or not? Are they allowed to simply bury their heads in the sand and refuse

11
       to investigate misconduct by their officers in the hopes of avoiding liability for
12     what their officers do? And are they allowed to bury evidence, while a man faces a
13     wrongful conviction in order to avoid being sued? Mr. Toland hopes that the
14     answer is “no.”
15        156.      There was no ambiguity about the plan of the City Attorney here: the
16     goal was to prevent Mr. Toland from finding out about Officer McFarland’s
17     history, and to secure felony conviction of Mr. Toland while keeping Officer
18
       McFarland’s history secret.
19
          157.      Sergeant Roldan, indeed, testified that he had gone to a meeting with
20
       multiple members of the Police Department leadership team, expecting to discuss
21
       the Toland case. But when he arrived, he was told by the leadership team to drop
22
       the investigation and not create a written report. The reason given was concern
23
       about a potential civil lawsuit by Mr. Toland. We now know that the Police
24
       Department was acting at the direction of the City Attorney.
25
          158.      Sgt. Roldan gave that testimony under oath on November 9, 2020.
26

27
       Sgt. Roldan consulted his calendar after the hearing and confirmed that the meeting

28     took place on or about January 8, 2020.



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1
          159.      The Police Department’s failure to conduct an internal investigation
2
       of Officer McFarland’s use of deadly force against Mr. Toland was inexplicable,
3
       until it was revealed that the Police Department was following the directives of the
4
       City Attorney’s Office. Internal Affairs Lieutenant Kimberly Smith testified that
5
       Deputy City Attorney John Nam called her and told her to shut down any
6
       investigation of Officer McFarland “because he thought there might be litigation.”
7
          160.      He then put in writing the official direction to the Police Department
8
       not to do any internal investigation of Officer McFarland until the statute of
9

10
       limitations for Mr. Toland’s civil rights suit (two years) had expired.

11
          161.      This is what Mr. Nam—a licensed attorney and state official acting
12     under color of law and acting at the direction of, and consistent with the policies
13     and practices of, the City Attorney’s Office—wrote to the two Pasadena Police
14     Department officers responsible for the internal investigation (Lieutenant Kim
15     Smith and Sergeant Roger Roldan) on August 16, 2020. The officers had inquired
16     of the City Attorney’s Office why the internal investigation had not been
17     conducted, 14 months after the incident. Deputy City Attorney Nam wrote: “[F]or
18
       a federal lawsuit he has two years so I would recommend that we continue tolling
19
       until that timeframe passes.”
20
          162.      If not for the actions of one or more brave officers in the Department,
21
       who provided the relevant documents to the Court, despite the City Attorney’s
22
       efforts to bury them, none of the City Attorney’s acts or the exculpatory evidence
23
       might ever have come to light.
24
          163.      The Court, on April 22, 2021, explained its surprise at the revelations
25
       about the City’s actions: “I mean, we did not know until Mr. Rad came in and
26

27
       something was inadvertently disclosed, which again, I didn’t make a finding it was

28     inadvertent. I tend to think the opposite. I tend to think someone in the Police
       Department was troubled by it and disclosed it to me and not to Mr. Rad.”

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1
          164.      Whoever that person was, he or she did the right thing.
2
          165.      Moreover, the evidence and communications that were revealed
3
       strongly suggest, and Mr. Toland alleges based thereon, that the City Attorney’s
4
       Office also told the Police Department not to do an internal investigation of Officer
5
       McFarland’s fatal shooting of Daniel Warren a month previously, for the same
6
       reason. The fact that the City Attorney’s Office put in writing its directive not to
7
       investigate the Toland incident until Mr. Toland’s civil rights statute of limitations
8
       had expired strongly suggests that the City Attorney’s Office had a policy and
9

10
       practice of giving this directive whenever it was concerned that a thorough

11
       investigation of a police use of force might uncover misconduct and thus trigger a
12     civil rights lawsuit. There was nothing implicit or “wink-wink” about the City
13     Attorney’s actions. A Deputy City Attorney, giving official advice to the Police
14     Department, told the Department to not even look at the facts surrounding a violent
15     use of deadly force against a Pasadena citizen—until the citizen’s time to file a
16     civil rights lawsuit had expired. That is reprehensible.
17        166.      The City Attorney’s Office, by and through Mr. Rad and Mr. Nam
18
       and/or other attorneys employed by the Office, also told the Police Department not
19
       to provide any of this material—the materials about Officer McFarland, and the
20
       communications from the City Attorney’s Office telling the Department not to do
21
       an investigation—to the prosecution or the defense.
22
          167.      Because the Police Department followed this direction, neither the
23
       prosecutor nor Mr. Toland knew of this material until it was finally disclosed in
24
       February and March 2021.
25
          168.      The Police Department also withheld, at the direction of the City
26

27
       Attorney’s Office, the multiple prior drafts of the written report memorializing

28     Officer McFarland’s account of the incident. The Department provided only a
       single report to the prosecutor, who then provided it to the defense. What the

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1
       Department did not tell the prosecutor was that that document was actually at least
2
       the fourth version, and that multiple material changes had been made to it over the
3
       course of those drafts.
4
          169.      For example, Officer McFarland initially said he punched Mr. Toland
5
       in the face as a “distraction strike.” But then someone changed the word
6
       “distraction” to “defensive.” And Officer McFarland initially said that when there
7
       was “separation” between him and Mr. Toland when he punched him in the face.
8
       But then someone changed the report twice—the first time to add the allegation
9

10
       that Mr. Toland had grabbed Officer McFarland’s arm, and then again (a second

11
       time) to add the further allegation that he had grabbed Officer McFarland’s arm
12     and wouldn’t let go.
13        170.      These changes were not accidental. For one thing, there is no
14     discussion of “distraction strikes” in the Department’s policy manual. Thus, a
15     “defensive” strike would on its face appear to be justified; a “distraction” strike
16     would not. So, to try to bolster the City’s position, someone simply changed what
17     Officer McFarland said.
18
          171.      The second change follows from the first change; if you’re going to
19
       describe the punches as “defensive,” then you obviously can’t have Officer
20
       McFarland saying that he was not in contact with Mr. Toland when he hit him.
21
       You have to change the report to make it say that Mr. Toland had grabbed him.
22
       And then, finally, someone decided to throw in a few more colorful details, adding
23
       that Mr. Toland had grabbed Officer McFarland and “wouldn’t let go.”
24

25     In short, this is the nightmare of every American who fears encounters with the
26     police, and of all Americans—including all good cops—who care about honesty
27     and integrity in our criminal justice system. But Mr. Toland could not wake up
28     from what happened here: The police department keeps a violent cop on the street.
       When the cop beats and chokes a citizen, the police edit factual narratives to make

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1
       the unjustified use of force appear legal. No one records the violent cop’s actual
2
       contemporaneous statements, and then the edited draft—the fourth draft—of the
3
       narrative is all the defense is ever given. Only the final draft of these incomplete
4
       reports was given to the prosecutor and the defense. As a result, it wasn’t until a
5
       year later, when some brave Police Department employee gave that flash drive to
6
       the Court, that Mr. Toland was ever able to find out about all the changes.
7
          172.      None of this was an innocent mistake. The Department had seventeen
8
       (17) officers responding at various points during the night with body cameras
9
       recording their activities. Yet the only interview that was not recorded was the
10
       verbal account given by Officer McFarland. And the various rounds of edits all
11
       passed through the desk of Sgt. Gligorivich, who was also, supposedly, responsible
12
       for conducting the Department’s initial use-of-force review (a review that was—at
13
       the direction of the City Attorney—never conducted).
14
          173.      The evidence strongly suggests that the Department first ensured that
15

16
       there was no detailed, contemporaneous record (by allowing Officer McFarland

17
       not to write anything down and then failing to record his verbal statement) and
18     then repeatedly edited the report supposedly memorializing his statement in order
19     to make his use of force appear justified. This was done rather than follow the
20     Department’s own policy manual, which requires the creation of a detailed,
21     contemporaneous record of exactly what happened and evaluation for compliance
22     with legal standards for the use of force.
23        174.      And at some point during the process, the body-cam footage of
24
       Officer Lack—which would have provided a clear view from an observer standing
25
       three feet away of exactly what happened—was lost, destroyed, erased, or never
26
       preserved at all. We may never know exactly what happened with her body-worn
27
       camera that night. But none of the other seventeen (17) cameras malfunctioned
28
       that night. If it was a coincidence that the one camera that would have shown


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1
       exactly what Officer McFarland did malfunctioned without any explanation, it was
2
       a fortunate coincidence indeed for the City.
3
            175.     All of the intentionally withheld material was Brady evidence. The
4
       prosecution stated on the record, on the day it dismissed the charges against Mr.
5
       Toland, that its decision not to continue the prosecution was based on its review of
6
       the withheld material.
7
            176.     That statement came on April 22, 2021—nearly two years after Mr.
8
       Toland’s arrest. Here it is: “Thank you, Your Honor. In addition to the Due
9

10
       Process error that was committed during the preliminary hearing, the additional

11
       Brady evidence which has been turned over to both the People and the defense,
12     specifically the officer-involved shooting that Officer McFarland was involved
13     with a few weeks prior to his contact with Mr. Toland; and as well as six prior
14     incidents while he was employed with the Alhambra Police Department, while all
15     of those were deemed to be have been uses of force that were within policy,
16     coupled with the jury instructions, the People feel that proving the felonies in
17     Counts 1, 3, and 47 would be difficult beyond a reasonable doubt…. [T]he decision
18
       was made not only by myself, but my head deputy and along with my bureau
19
       director.”
20
            177.     During the nearly two years between June 22, 2019, and April 22,
21
       2021, Mr. Toland suffered every day the fear, anxiety, and uncertainty of being a
22
       defendant charged with serious felony offenses carrying potential years-long prison
23
       sentence. This caused him—as it would any reasonable person—great
24
       psychological and emotional harms. During the same time, Mr. Toland had to
25
       expend a significant amount of money to fund his criminal defense. All of this
26

27
       could and should have been avoided if the City Attorney’s Office had not

28

       7
           Count 2 had already been dismissed.

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1
       interfered and prevented the District Attorney’s Office and the Police Department
2
       from doing their jobs.
3
          178.       In sum, the City Attorney’s Office, through Mr. Nam and Mr. Rad
4
       (who are both licensed attorneys and who both did know and should have known
5
       better) told the Police Department to not conduct any internal investigations of, or
6
       write any reports about, an officer who in the space of a month had killed one
7
       citizen and beaten and choked another. This directive was issued for the specific
8
       reason that if the Department did such an investigation, the findings might support
9

10
       a civil rights suit against the Department.

11
          179.       On information and belief, Mr. Nam and Mr. Rad are not rogue actors
12     acting against the policies and practices of the City Attorney’s Office. On the
13     contrary, their actions—actions which they knew and should have known
14     constituted deliberate deprivations of Mr. Toland’s civil rights and deliberate
15     obstruction of the criminal justice process—were carried out in conjunction and in
16     conformity with, at the direction of, and as ratified by, the policies and practices of
17     the City Attorney’s Office.
18
          180.       On information and belief, the City Attorney’s Office maintains a
19
       policy and practice of deliberately interfering in the criminal justice process to
20
       deprive defendants of exculpatory evidence, in order to attempt to avoid civil
21
       liability in civil rights lawsuits.
22
          181.       These policies and practices are pervasive and evidenced by the
23
       testimony of multiple witnesses, including Lieutenant Kim Smith and Sgt. Roger
24
       Roldan, who testified that this was not the first time that a use-of-force
25
       investigation had been halted in order to avoid civil litigation. Lieutenant Smith
26

27
       testified that it had happened ten or fifteen times before. That is proof that the City

28     Attorney’s Office had a policy and practice of concealing officer misconduct and is



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1
       thus directly liable under Monell v. New York City Department of Social Services,
2
       436 U.S. 658 (1978).
3
          182.      Further, in August and September 2021, the prosecution and defense
4
       held three teleconferences with Superior Court Judge Terri Schwartz regarding
5
       possible resolution of the case. During these calls, Judge Schwartz asked DDA
6
       Frances Young whether the Police Department had done a use-of-force
7
       investigation and report on the incident as the Department’s policies required.
8
       DDA Young said she had not seen any such reports. However, one of the body-
9

10
       cam videos produced by the prosecution showed a Police Department sergeant

11
       discussing preparation of an internal use-of-force report. Accordingly, the defense
12     filed a motion to compel production of documents, relating to the use-of-force
13     investigation.
14        183.      The unexplained absence of a use-of-force report from the
15     prosecution’s discovery production to the defense, caused the defense concern
16     about whether the Police Department was providing to the prosecutor everything it
17     was obligated to provide.
18
          184.      Accordingly, the defense then took a series of steps to attempt to
19
       obtain the missing materials. It filed a motion to compel discovery production from
20
       the prosecution, specifically seeking use-of-force reports and related documents. It
21
       served subpoenas on the City Attorney’s Office and the Police Department. These
22
       requests sought all documents and communications related to the incident, any
23
       investigations thereof, and any communications within and among the Police
24
       Department, City Attorney’s Office, and District Attorney’s Office, about Mr.
25
       Toland, the incident, or the prosecution.
26

27
          185.      The prosecutor filed a declaration with the Court which stated, inter

28     alia, that she had been contacted by representatives of the City, who had asked her



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                                               47
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1
       not to agree to any misdemeanor disposition, because a felony conviction would, in
2
       their view, prevent Mr. Toland from being able to file a civil rights lawsuit.
3
          186.      The Superior Court granted Mr. Toland’s discovery motion, and
4
       ordered production of all the materials requested. But the Department did not
5
       provide the materials to Ms. Young (as it should have done at the outset of the
6
       case). Instead, on November 5, 2021, someone from the Police Department
7
       delivered to the Superior Court judge a flash drive containing numerous documents
8
       which had never been disclosed to the prosecutor or to the defense. That flash
9

10
       drive contained, among other things, records showing that the City Attorney’s

11
       Office had deliberately shut down the use-of-force investigation in order to prevent
12     Mr. Toland from filing a civil suit (the email from Deputy City Attorney Mr. Nam,
13     as noted, actually said this, explicitly) and that Officer McFarland had been the
14     shooter in the Warren incident.
15        187.      When the City Attorney’s Office found out that the judge had seen
16     these materials, it desperately tried to keep the prosecution and defense from
17     seeing them. Chief Deputy City Attorney Javan Rad appeared in court, for the first
18
       time. He asserted that the flash drive had been “inadvertently produced” and that
19
       the City wanted it back. The Court responded that the materials on the flash drive
20
       were directly responsive to both the subpoena and her discovery order, and that she
21
       had ordered them to be produced.
22
          188.      The Court told Mr. Rad that the City lacked a legal basis for failing to
23
       comply with her order and expressed shock that these materials had not been
24
       disclosed to the prosecution prior to the preliminary hearing, so that the prosecutor
25
       could have met her constitutional obligations to produce them to the defense.
26

27
          189.      Over the next three months, the materials remained undisclosed, while

28     the City Attorney’s Office requested repeated in camera hearings with the Court,
       and asserted multiple legal arguments to try to prevent production, all of which the

                                      COMPLAINT FOR DAMAGES
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1
       Court rejected. The defense conducted an evidentiary hearing with multiple Police
2
       Department officers, including Lieutenant Smith. Ultimately, Lieutenant Smith
3
       testified, over Mr. Rad’s efforts to silence her, and in contradiction of Mr. Rad’s
4
       representations to the Court, that the key documents and communications were not
5
       attorney-client communications.
6
          190.      Finally, on March 9, 2021, the City produced the documents to the
7
       prosecutor, DDA Young. DDA Young immediately recognized them as Brady,
8
       and produced them to the defense. Then, on April 22, 2021, DDA Young
9

10
       dismissed all the assault charges against Mr. Toland, stating on the record that the

11
       District Attorney’s Office—including herself and the two supervisors above her—
12     had concluded that these materials made it impossible to pursue the charges.
13        191.      Mr. Toland suffered psychological, emotional, physical, reputational,
14     and economic harms as a result of the wrongful conduct set forth herein, in an
15     amount according to proof at trial and in excess of $1 million. Inter alia, he was
16     beaten up and suffered physical injuries; he experienced emotional, psychological
17     and reputational harms from being wrongly accused of a serious felony; and he
18
       experienced economic harms from being forced to expend resources to defend
19
       himself.
20
          192.      The Superior Court expressed its outrage at what the City did. The
21
       Superior Court explained that this sort of conduct undermines public trust in the
22
       courts and in law enforcement, and violates the basic principles of honesty and
23
       fairness that ought to be the foundation of our justice system. The Court expressed
24
       its hope that the City’s actions would be “investigated at the highest levels” by the
25
       District Attorney’s Office, and that what happened to Mr. Toland should “never,
26

27
       ever happen again.”

28        193.      The Court, January 21, 2021: “I think it is inexcusable what happened
       in this case. I think it is outrageous that there is information pertaining to a use of

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1
       force investigation that was shut down – And I don’t believe for one minute that
2
       was an inadvertent disclosure, by the way, but I’m not going to go there. But this
3
       information bears on the credibility of these officers. And that is, in my mind,
4
       potential Brady information…
5
          194.      The Court, January 21, 2021: “What I see now is that the City has
6
       interfered – interjected itself in the way the Pasadena Police Department should
7
       handle discovery. And that is troubling. That is very troubling.”
8
          195.      The Court, March 24, 2021: “But I think it’s fairly obvious that what
9

10
       happened in this case must never happen again. And I think Ms. Young

11
       understands the responsibility that her office has to make sure it never happens
12     again. And I trust that the DA’s office will deal with this at the highest levels of
13     management in that office. Because to allow a police agency to withhold evidence
14     on the advice on counsel is a problem bigger than what we just see in this case.”
15        196.      The Court, April 22, 2021: “But I wanted to be sure that what
16     happened here never happens again.”
17        197.      The prosecutor, April 22, 2021: “Because the Police Department
18
       relies on their attorney, as they have the right to do. They do, however, assume
19
       that the City Attorney acts in their best interest. They, unfortunately, were very
20
       shocked to discover that that was not the case.”
21
          198.      The prosecutor, April 22, 2021: “I have put them on notice. And I
22
       look forward to seeing what happens from here on out.”
23
          199.      The Court, April 22, 2021: “I have never come across a case where a
24
       City Attorney or any other lawyer is getting involved in the discovery decisions
25
       made by the police agency where the police agency, based on that advice, doesn’t
26

27
       disclose to the People relevant and material information about the case. And that is

28     something I can’t—you know, I can’t get—that’s not my role. But I am asking the
       DA’s office here not just to watch, but to keep in mind that what happened here

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1
       was, yes, the City Attorney getting involved in information to be disclosed to the
2
       People. So if this is a one-off, you know, maybe it is. But my fear and my concern
3
       is that what happened here was pretty egregious.”
4
          200.      The Court, April 22, 2021: “But I am just really concerned that if the
5
       administration of the Police Department doesn’t want anything to do with it, I
6
       really want to just caution the People that it really could impact the integrity of all
7
       prosecutions because we only fortuitously found this out.”
8
          201.      Mr. Toland agrees with the Court. What happened to him was
9

10
       troubling, egregious, and outrageous, and undermines public trust in the integrity

11
       of our criminal justice system. He hopes and prays that it never happens again.
12     And by this lawsuit, he hopes to help make sure that it never does.
13
                                       CLAIMS FOR RELIEF
14
                                   FIRST CLAIM FOR RELIEF
15
          Excessive Force, in Violation of the Fourth Amendment to the Constitution
16
                           of the United States, and 42 U.S.C. § 1983
17
                            (Against Defendants McFarland and Lack)
18
          202.      Mr. Toland realleges and incorporates by reference each foregoing
19
       and subsequent paragraph in this Complaint as though fully set forth herein.
20

21
          203.      This claim for relief is brought pursuant to 42 U.S.C. § 1983 and the

22
       Fourth and Fourteenth Amendments to the United States Constitution.
23        204.       Defendants McFarland and Lack beat, choked, and Tased Mr.
24     Toland severely and repeatedly, without justification or legal basis, and contrary to
25     governing policy and clearly established law.
26        205.       As set forth above, Defendants did, inter alia, the following:
27

28




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1
          206.       Officer McFarland punched Mr. Toland in the face, at a time when
2
       Mr. Toland was not attacking or threatening anyone (as set forth herein, Mr.
3
       Toland never attacked or threated anyone).
4
          207.       Officer McFarland threw Mr. Toland to the ground at a time when
5
       Mr. Toland was not attacking or threatening anyone (as set forth herein, Mr.
6
       Toland never attacked or threated anyone).
7
          208.       Officer McFarland Tased Mr. Toland at least twice at a time when
8
       Mr. Toland was not attacking or threatening anyone (as set forth herein, Mr.
9

10
       Toland never attacked or threatened anyone).

11
          209.       Officer McFarland punched Mr. Toland between 10 and 20 times in
12     the head at a time when Mr. Toland was not attacking or threatening anyone (as set
13     forth herein, Mr. Toland never attacked or threated anyone).
14        210.       Officer McFarland put his arm around Mr. Toland’s neck from
15     behind, and attempted to choke Mr. Toland into unconsciousness by cutting off
16     blood flow to Mr. Toland’s brain, at a time when Mr. Toland was seated on the
17     ground, and not attacking, or threatening anyone (as set forth herein, Mr. Toland
18
       never attacked or threated anyone).
19
          211.       Officer Lack put her arm around Mr. Toland’s neck from behind,
20
       and attempted to choke Mr. Toland into unconsciousness by cutting off blood flow
21
       to Mr. Toland’s brain, at a time when Mr. Toland was seated on the ground, and
22
       not attacking, or threatening anyone (as set forth herein, Mr. Toland never attacked
23
       or threated anyone).
24
          212.       The reason she and Officer McFarland her arm around Mr. Toland’s
25
       neck from behind, and attempted to choke Mr. Toland into unconsciousness by
26

27
       cutting off blood flow to Mr. Toland’s brain, at a time when Mr. Toland was seated

28     on the ground, and not attacking, or threatening anyone, was that Mr. Toland had
       remained seated on the ground rather than lie down immediately on his stomach.

                                     COMPLAINT FOR DAMAGES
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1
           213.      Employing a chokehold, “carotid control hold,” or any technique that
2
       involves making contact with a person’s neck, whether grabbing, squeezing,
3
       pressuring, or “arm-barring,” with the purpose of rendering the person unconscious
4
       by cutting off blood flow to the brain, is, and was on the date of the incident, a
5
       clearly established violation of the Fourth Amendment, when the person is sitting
6
       on the ground and not attacking or threatening anyone.
7
           214.     That constitutional rule is clearly established. Defendants McFarland
8
       and Lack were on actual and constructive notice of it, and deliberately violated it,
9

10
       with the specific intent to harm Mr. Toland, viz., to cut off blood flow to his brain

11
       and render him unconscious. Their decision to do so knowing that doing so
12     violated clearly established constitutional law on the use of force is reprehensible
13     and malicious and warrants imposition of punitive damages.
14         215.      Mr. Toland was damaged by and as a direct and proximate result of
15     Defendants’ unlawful conduct, as set forth herein.
16         216.      There is and was no ambiguity about the law in this area, and thus no
17     possible legally colorable qualified immunity argument. In the United States of
18
       America, it is unconstitutional to apply a chokehold to a man sitting in his
19
       driveway not touching, attacking, or threatening anyone, because he fails to
20
       comply with a verbal command to lie on his stomach.8
21

22

23

24

25
       8
        See, e.g., Gravelet-Blondin v. Shelton, 728 F.3d 1086, 1093 (9th Cir. 2013) (“The
26
       [Fourth Amendment] right to be free from the application of non-trivial force for
27     engaging in mere passive resistance was clearly established prior to 2008.”)
       Tuuamalemalo v. Greene, 946 F.3d 471, 477 (9th Cir. 2019) (“There is a robust
28
       consensus among the circuits that the use of a chokehold on a non-resisting person
       violates the Fourth Amendment.”).

                                      COMPLAINT FOR DAMAGES
                                                53
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1
                                 SECOND CLAIM FOR RELIEF
2         (Unreasonable Seizure of Person in Violation of the Fourth Amendment to
3              the Constitution of the United States and 42 U.S.C. § 1983)
                          (Against Officers McFarland and Lack)
4

5       217. Mr. Toland re-alleges and incorporates by reference all preceding and
6      succeeding paragraphs as though fully set forth herein.
7      218. Defendants, acting under color of state law, used their official position,
8
       status, and authority as Pasadena Police Department officers, deliberately made
9
       false statements to other officers, as set forth herein, claiming that Mr. Toland had
10
       “attacked” Officer McFarland, to procure Mr. Toland’s arrest without probable
11
       cause.
12
        219. By procuring Mr. Toland’s arrest based on false and baseless accusations,
13
       and knowing that the accusations were based on fabrications, Defendants violated
14
       Mr. Toland’s Fourth Amendment right to be free from unreasonable seizure of his
15
       person.
16

17
       220. Officer Lack claimed in her report the night of the incident that Mr. Toland

18
       “violently attacked” Officer McFarland. She knew that that statement was not
19     true, and that in fact she never saw any such thing.
20     221. Officer McFarland claimed, in his statements to Officer Torres, that Mr.
21     Toland jumped out the car, got behind him, put his arm around his neck, and
22     choked him for five seconds until he felt himself blacking out. He knew that that
23     statement was not true.
24     222. It is a violation of the Fourth Amendment for a police officer to deliberately
25
       make a false statement accusing a person of a crime, including by claiming to
26
       have witnessed an event that the police officer in fact did not witness.
27
       223. As a direct and proximate result of Defendants’ actions, Mr. Toland was
28
       wrongfully seized, arrested, and detained, and suffered damages as alleged herein.


                                     COMPLAINT FOR DAMAGES
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1
       224. It is a clearly established constitutional rule that police officers may not lie
2
       or make false accusations in their reports and testimony. That constitutional rule
3
       is clearly established. Defendants McFarland and Lack were on actual and
4
       constructive notice of it, and deliberately violated it, with the specific intent to
5
       harm Mr. Toland, viz., to procure his arrest and prosecution for “violently
6
       assaulting” Officer McFarland—something that Officer Lack admitted under oath
7
       did not occur. Their decision to do so knowing that doing so violated clearly
8
       established constitutional law on the use of force is reprehensible and malicious
9

10
       and warrants imposition of punitive damages.

11
                                 THIRD CLAIM FOR RELIEF
12
       (Unreasonable Seizure of Person in Violation of the Fourth Amendment to the
                 Constitution of the United States and 42 U.S.C. § 1983)
13                       (Against Defendant Officer McFarland)
14
          225.      Officer McFarland seized Mr. Toland without reasonable suspicion or
15
       probable cause.
16

17
          226.      Officer McFarland’s traffic stop was a detention requiring an adequate

18
       legal justification under the Fourth Amendment.
19        227.      Officer McFarland claimed that he pulled over Mr. Toland because
20     Mr. Toland’s brake lights were malfunctioning.
21        228.      That claim was false. The video evidence proves that Mr. Toland’s
22     brake lights were functioning normally, and that Officer McFarland saw them
23     functioning normally.
24        229.      Officer McFarland’s post-hoc claim that he was able to see a
25
       twentieth-of-a-second “delay” in the illumination of the right brake light compared
26
       to the left and center brake lights was false.
27
          230.      Officer McFarland’s post-hoc claim that he was able to see a
28
       twentieth-of-a-second “delay” in the illumination of the right brake light compared


                                      COMPLAINT FOR DAMAGES
                                                55
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1
       to the left and center brake lights could not have created a legal justification for the
2
       stop in any event.
3
          231.      Officer McFarland’s detention of Mr. Toland was unconstitutional,
4
       and harmed by Officer McFarland’s unconstitutional conduct, because but for the
5
       unconstitutional initial detention, Mr. Toland would not have been beaten, Tased,
6
       and choked by Officers McFarland and Lack, and would not have been wrongfully
7
       arrested and charged.
8

9                               FOURTH CLAIM FOR RELIEF
10               (Deliberate Fabrication of Evidence in Violation of the Fourteenth
                                Amendment and 42 U.S.C. § 1983)
11
                    (Against Defendants Officer McFarland and Officer Lack)
12

13        232.      Officer McFarland acting under color of law, deliberately deprived
14     Mr. Toland of his rights under the Constitution when he fabricated false allegations
15     against Mr. Toland that were used to criminally charge and prosecute Mr. Toland.
16     Officer McFarland falsely claimed that Mr. Toland attacked him, choked him, and
17     pinned him to the ground. These statements were deliberate fabrications.
18        233.      Officer McFarland presented false evidence to the prosecutor and that
19     false evidence led to Mr. Toland being charged. Therefore, the filing of the
20
       charges does not protect Officer McFarland from liability for his false statements.
21
       See, e.g., Caldwell v. City & Cty. of San Francisco, 889 F.3d 1105, 1115 (9th Cir.
22
       2018) (where an officer presents false evidence to the prosecutor, the filing of
23
       charges does not provide any immunity to the officer, and “the analysis reverts
24
       back to a normal causation question”); Ninth Circuit Jury Instruction 9.2,
25
       “Deliberate Fabrication” Comment.
26
          234.      Officer Lack, acting under color of law, deliberately deprived Mr.
27

28
       Toland of his rights under the Constitution when she fabricated false allegations
       against Mr. Toland that were used to criminally charge and prosecute Mr. Toland.

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1
       Officer Lack falsely claimed in her written report that Mr. Toland violently
2
       attacked Officer McFarland. That statement was false. Officer Lack knew it was
3
       false. Officer Lack admitted in her sworn testimony at the preliminary hearing that
4
       that statement was false, and that in fact Mr. Toland never attacked Officer
5
       McFarland.
6
          235.      Officer Lack presented false evidence to the prosecutor, and that false
7
       evidence led to Mr. Toland being charged. Therefore, the filing of the charges
8
       does not protect Officer Lack from liability for her false statements. See, e.g.,
9

10
       Caldwell v. City & Cty. of San Francisco, 889 F.3d 1105, 1115 (9th Cir. 2018)

11
       (where an officer presents false evidence to the prosecutor, the filing of charges
12     does not provide any immunity to the officer, and “the analysis reverts back to a
13     normal causation question”); Ninth Circuit Jury Instruction 9.2, “Deliberate
14     Fabrication” Comment.
15        236.      It is a clearly established constitutional rule that police officers may
16     not lie or make false accusations in their reports and testimony. That constitutional
17     rule is clearly established. Defendants McFarland and Lack were on actual and
18
       constructive notice of it, and deliberately violated it, with the specific intent to
19
       harm Mr. Toland, viz., to procure his arrest and prosecution for “violently
20
       assaulting” Officer McFarland—something that Officer Lack admitted under oath
21
       did not occur. Their decision to do so knowing that doing so violated clearly
22
       established constitutional law on the use of force is reprehensible and malicious
23
       and warrants imposition of punitive damages.
24
          237.      Mr. Toland was harmed by Officer McFarland’s and Officer Lack’s
25
       deliberate fabrication of evidence. He suffered psychological, emotional, and
26

27
       reputational harms in an amount subject to proof at trial, through being forced to

28     spend close to two years with a serious felony charge hanging over him, knowing



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1
       that he was innocent; he suffered economic harms in an amount subject to proof at
2
       trial, through legal fees and time he was unable to devote to his business.
3
                                 FIFTH CLAIM FOR RELIEF
4
                 (Deliberate or Reckless Suppression of Evidence in Violation of the
5
                           Fourteenth Amendment and 42 U.S.C. § 1983)
6                      (Against Defendants City Attorney’s Office and Nam)
7         238.       The Pasadena City Attorney’s Office, and Deputy City Attorney John
8
       Nam, deprived Mr. Toland of his constitutional rights by deliberately and
9
       recklessly suppressing exculpatory evidence. Defendants acted deliberately, and
10
       pursuant to a deliberate policy of the City Attorney’s Office, to intervene in the
11
       criminal discovery process to prevent the Police Department from turning over
12
       material favorable to Mr. Toland to the District Attorney’s Office, so that that
13
       evidence would never see the light of day, would be suppressed from and unknown
14
       to the prosecutor, the defense, and the court in Mr. Toland’s criminal case.
15
          239.       Defendants did so with the deliberate and express intention of
16

17
       impairing and undermining Mr. Toland’s right and ability to file a civil rights

18
       lawsuits. The City Attorney’s Office acted in accordance with its policy and
19     practice, and with the knowledge, acquiescence, and ratification of the relevant
20     policymaker, so as to subject it to direct civil liability under Monell v. New York
21     City Department of Social Services, 436 U.S. 658 (1978).
22        240.       Defendants deliberately and recklessly suppressed from both the
23     prosecution and defense—and the Court—the evidence that Officer McFarland had
24     shot and killed Daniel Warren on May 17, 2019, only four weeks before he beat
25
       Mr. Toland.
26
          241.       Defendants were deliberately indifferent to Mr. Toland’s
27
       constitutional rights to due process and a fair trial. Defendants did not care if Mr.
28
       Toland were wrongfully convicted, so long as they could save the City money by


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1
       avoiding a civil rights lawsuit for excessive force.
2
          242.      Defendants actively hoped and intended that Mr. Toland would be
3
       convicted while never knowing about the suppressed impeachment materials.
4
          243.      It is a clearly established constitutional rule that government officials,
5
       including attorneys, may not suppress exculpatory evidence. That constitutional
6
       rule has been clearly established for more than forty years. Defendants Nam and
7
       the City Attorney’s Office were on actual and constructive notice of it, and
8
       deliberately violated it, with the specific intent to harm Mr. Toland, viz., to procure
9

10
       his prosecution and conviction for “violently assaulting” Officer McFarland, by

11
       preventing him from obtaining evidence that could have—and in fact ultimately
12     did—result in the charges being dismissed.
13        244.      Defendants’ deliberate decision to attempt to procure Mr. Toland’s
14     conviction by burying exculpatory evidence and preventing the defense, the
15     prosecution, or the Court from seeing it is reprehensible, malicious, outrageous,
16     and contrary to the ethical principles that govern the profession of law, and
17     warrants imposition of punitive damages.
18
                                    SIXTH CLAIM FOR RELIEF
19
                  (Conspiracy to Suppress Evidence in Violation of the Fourteenth
20                              Amendment and 42 U.S.C. § 1983)
                    (Against Defendants City Attorney’s Office and Nam)
21

22        245.      The Pasadena City Attorney’s Office, and Deputy City Attorney John
23     Nam, conspired to deprive Mr. Toland of his constitutional rights by deliberately
24     and recklessly suppressing exculpatory evidence. Defendants conspired with other
25
       attorneys at the City Attorney’s Office, and followed a deliberate policy of the City
26
       Attorney’s Office to intervene in the criminal discovery process to prevent the
27
       Police Department from turning over material favorable to Mr. Toland to the
28
       District Attorney’s Office, so that that evidence would never see the light of day,


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       would be suppressed from and unknown to the prosecutor, the defense, and the
2
       court in Mr. Toland’s criminal case.
3
          246.      Defendants did so with the deliberate and express intention of
4
       impairing and undermining Mr. Toland’s right and ability to file a civil rights
5
       lawsuits. The City Attorney’s Office acted in accordance with its policy and
6
       practice, and with the knowledge, acquiescence, and ratification of the relevant
7
       policymaker, so as to subject it to direct civil liability under Monell v. New York
8
       City Department of Social Services, 436 U.S. 658 (1978).
9

10
          247.      Defendants deliberately and recklessly suppressed from the

11
       prosecution, the defense, and the Court—the evidence that Officer McFarland had
12     shot and killed Daniel Warren on May 17, 2019, four weeks before he beat Mr.
13     Toland.
14        248.      Defendants were deliberately indifferent to Mr. Toland’s
15     constitutional rights to due process and a fair trial. Defendants did not care if Mr.
16     Toland were wrongfully convicted, so long as they could save the City money by
17     avoiding a civil rights lawsuit for excessive force.
18
          249.      Defendants actively hoped and intended that Mr. Toland would be
19
       convicted while never knowing about the suppressed impeachment materials.
20
          250.      Defendants’ deliberate decision to attempt to procure Mr. Toland’s
21
       conviction by burying exculpatory evidence and preventing the defense, the
22
       prosecution, or the Court from seeing it is reprehensible, malicious, outrageous,
23
       and contrary to the ethical principles that govern the profession of law, and
24
       warrants imposition of punitive damages.
25
                               SEVENTH CLAIM FOR RELIEF
26
                                      (Injunctive Relief)
27
                          (Against Defendant City Attorney’s Office)
28
          251.      Mr. Toland prays that the Court enter a permanent injunction against

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       the City Attorney’s Office prohibiting it and all attorneys, agents, and employees
2
       acting through and with its powers and authority, from interfering in production of
3
       evidence by the Police Department to the District Attorney’s Office in criminal
4
       prosecutions.
5
          252.       Specifically, Mr. Toland prays that the Court enjoin the City
6
       Attorney’s Office from ever again directing or advising the Police Department to
7
       withhold any evidence or information from the District Attorney’s Office during
8
       the discovery process in a criminal prosecution.
9

10
          253.       Additionally, Mr. Toland prays that the Court enjoin the City

11
       Attorney’s Office from ever again directing or advising the Police Department to
12     refrain from conducting an internal investigation into its officers’ use of force for
13     the purpose of preventing a civil rights lawsuit by a citizen; or from directing or
14     advising the Police Department to delay such an investigation until after the statute
15     of limitations for a civil rights lawsuit has run out.
16        254.       Such an injunction is necessary because of the outrageous and
17     egregious conduct alleged herein, in which the City Attorney’s Office deliberately
18
       attempted to undermine Mr. Toland’s rights under the federal Constitution and
19
       federal law, including inter alia his rights under the Fifth, Sixth, and Fourteenth
20
       Amendments, and under 42 U.S.C. § 1983.
21
          255.       Such an injunction is a proper exercise of this Court’s powers. When
22
       a court identifies a right and a violation of that right by state actors, the district
23
       court’s equitable powers are broad and flexible, and encompasses the power to
24
       create relief that addresses each element contributing to the violation. A court may
25
       fashion an injunction to compel defendants to take certain steps to ensure
26

27
       compliance with constitutional mandates. Such injunctions against local

28     governments to remedy constitutional and statutory violations are proper and



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1
       necessary in order to uphold constitutional and statutory rights.9
2
           256.     When state actors deliberately attempt to subvert federal law and
3
       federal rights, a federal-court injunction is the appropriate remedy. It is necessary
4
       here to ensure, as the Superior Court said: “This must never happen again.”
5
                                       PRAYER FOR RELIEF
6
           Mr. Toland prays for relief as follows:
7

8          1. Compensatory, general and special damages against all Defendants in an
9      amount to be proven at trial.
10         2. Costs, expenses and attorneys’ fees pursuant to 42 U.S.C. section 1988 and
11     as otherwise authorized by law.
12         3. Punitive damages against Defendants in an amount appropriate to punish
13
       them and to deter others from engaging in similar misconduct.
14
           4. Injunctive relief as requested herein, in the form of a permanent injunction
15
       forbidding the City Attorney’s Office from directing or advising the Police
16
       Department to withhold any materials from the District Attorney’s Office in any
17
       criminal case.
18
           5. Such other relief as the Court may deem proper.
19
       DATED: June 10, 2021                   Respectfully submitted,
20
                                              WERKSMAN JACKSON & QUINN, LLP
21

22

23
                                              CALEB E. MASON
24                                            JACQUELINE M. SPARAGNA
25                                            Attorneys for Plaintiff
                                              Jeffrey Toland
26

27
       9
        See, e.g., Swann v. Charlotte-Mecklenburg Bd. of Ed., 402 U.S. 1, 5 (1972); Hutto
28     v. Finney, 437 U.S. 678, 687 (1978), Lemon v. Kurtzman, 411 U.S. 192, 200
       (1973); LA Alliance for Human Rights, et al. v. City of Los Angeles, No. 2:20-cv-
       2291-DOC, ECF Doc. 277 (Order), pp. 95-104.

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2
                                DEMAND FOR JURY TRIAL
3
         Mr. Toland demands a jury trial.
4
       DATED: June 10, 2021                 Respectfully submitted,
5

6
                                            WERKSMAN JACKSON & QUINN, LLP
7

8

9                                           CALEB E. MASON
10                                          JACQUELINE M. SPARAGNA
                                            Attorneys for Plaintiff
11
                                            Jeffrey Toland
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